      Case 1:19-cv-02973-SCJ Document 155 Filed 08/11/20 Page 1 of 110


                                                                             4months,APPEAL,CLOSED
                                U.S. District Court
                       Northern District of Georgia (Atlanta)
                 CIVIL DOCKET FOR CASE #: 1:19−cv−02973−SCJ

SisterSong Women of Color Reproductive Justice Collective et   Date Filed: 06/28/2019
al v. Kemp et al                                               Date Terminated: 07/13/2020
Assigned to: Judge Steve C. Jones                              Jury Demand: Defendant
Case in other court: USCA − 11th Circuit., 19−14726−DD         Nature of Suit: 440 Civil Rights: Other
Cause: 42:1983 Civil Rights Act                                Jurisdiction: Federal Question
Plaintiff
SisterSong Women of Color                      represented by Brigitte Amiri
Reproductive Justice Collective                               ACLU −NY
on behalf of itself and its members                           125 Broad Street
                                                              New York, NY 10004
                                                              212−519−7897
                                                              Email: bamiri@aclu.org
                                                              LEAD ATTORNEY
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

                                                               Elizabeth Karin Watson
                                                               American Civil Liberties Union
                                                               Foundation−NY
                                                               18th Floor
                                                               125 Broad St.
                                                               New York, NY 10004
                                                               212−549−2633
                                                               Email: ewatson@aclu.org
                                                               LEAD ATTORNEY
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED

                                                               Rebecca Ann Chan
                                                               American Civil Liberties Union
                                                               Foundation−NY
                                                               18th Floor
                                                               125 Broad St.
                                                               New York, NY 10004
                                                               212−549−2632
                                                               TERMINATED: 10/28/2019
                                                               LEAD ATTORNEY
                                                               PRO HAC VICE

                                                               Sean Young
                                                               ACLU of Georgia Foundation
                                                               1100 Spring St. NW
                                                               Suite 640
                                                               Atlanta, GA 30309

                                                                                                         1
      Case 1:19-cv-02973-SCJ Document 155 Filed 08/11/20 Page 2 of 110


                                                    770−303−8111
                                                    Fax: 770−303−0060
                                                    Email: syoung@acluga.org
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Susan Talcott Camp
                                                    American Civil Liberties Union
                                                    Foundation−NY
                                                    18th Floor
                                                    125 Broad St.
                                                    New York, NY 10004
                                                    212−549−2632
                                                    Email: tcamp@aclu.org
                                                    TERMINATED: 05/18/2020
                                                    LEAD ATTORNEY
                                                    PRO HAC VICE

Plaintiff
Feminist Women's Health Center       represented by Emily B. Nestler
                                                    United States Departement of Justice
                                                    Civil Division, Federal Programs Branch
                                                    20 Massachusetts Avenue NW
                                                    Washington, DC 20530
                                                    (202) 616−8489
                                                    Email: enestler@reprorights.org
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Julie Rikelman
                                                    Center for Reproductive Rights
                                                    199 Water Street
                                                    22nd Floor
                                                    New York, NY 10038
                                                    917−637−3670
                                                    Email: jrikelman@reprorights.org
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Kirby Tyrrell
                                                    Center for Reproductive Rights
                                                    199 Water Street
                                                    22nd Floor
                                                    New York, NY 10038
                                                    917−637−3792
                                                    Email: ktyrrell@reprorights.org
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Sean Young
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                                                              2
      Case 1:19-cv-02973-SCJ Document 155 Filed 08/11/20 Page 3 of 110


                                                   ATTORNEY TO BE NOTICED

                                                   Elizabeth Karin Watson
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

Plaintiff
Planned Parenthood Southeast, Inc.   represented by Carrie Y. Flaxman
                                                    Planned Parenthood Federation of America
                                                    Suite 300
                                                    1110 Vermont Ave.
                                                    Washington, DC 20005−6300
                                                    202−973−4800
                                                    Email: carrie.flaxman@ppfa.org
                                                    LEAD ATTORNEY
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                   Sean Young
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Susan Lambiase
                                                   Planned Parenthood Federation of America
                                                   123 William St.
                                                   New York, NY 10038−3812
                                                   212−261−4750
                                                   Fax: 212−247−6811
                                                   Email: susan.lambiase@ppfa.org
                                                   LEAD ATTORNEY
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   Elizabeth Karin Watson
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

Plaintiff
Atlanta Comprehensive Wellness       represented by Carrie Y. Flaxman
Clinic                                              (See above for address)
                                                    LEAD ATTORNEY
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                   Elizabeth Karin Watson
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED


                                                                                               3
      Case 1:19-cv-02973-SCJ Document 155 Filed 08/11/20 Page 4 of 110


                                                 Rebecca Ann Chan
                                                 (See above for address)
                                                 TERMINATED: 10/28/2019
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE

                                                 Sean Young
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Susan Talcott Camp
                                                 (See above for address)
                                                 TERMINATED: 05/18/2020
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE

Plaintiff
Atlanta Women's Medical Center       represented by Elizabeth Karin Watson
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                 Rebecca Ann Chan
                                                 (See above for address)
                                                 TERMINATED: 10/28/2019
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE

                                                 Sean Young
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Susan Talcott Camp
                                                 (See above for address)
                                                 TERMINATED: 05/18/2020
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE

Plaintiff
FemHealth USA                        represented by Elizabeth Karin Watson
doing business as                                   (See above for address)
Carafem                                             LEAD ATTORNEY
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                 Rebecca Ann Chan
                                                 (See above for address)
                                                 TERMINATED: 10/28/2019

                                                                              4
      Case 1:19-cv-02973-SCJ Document 155 Filed 08/11/20 Page 5 of 110


                                                        LEAD ATTORNEY
                                                        PRO HAC VICE

                                                        Sean Young
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Susan Talcott Camp
                                                        (See above for address)
                                                        TERMINATED: 05/18/2020
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE

Plaintiff
Columbus Women's Health                     represented by Emily B. Nestler
Organization, P.C.                                         (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                        Julie Rikelman
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Kirby Tyrrell
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Sean Young
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Elizabeth Karin Watson
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Summit Medical Associates, P.C.             represented by Elizabeth Karin Watson
on behalf of themselves, their physicians                  (See above for address)
and other staff, and their patients                        LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                        Rebecca Ann Chan
                                                        (See above for address)
                                                        TERMINATED: 10/28/2019
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE

                                                                                     5
      Case 1:19-cv-02973-SCJ Document 155 Filed 08/11/20 Page 6 of 110



                                                 Sean Young
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Susan Talcott Camp
                                                 (See above for address)
                                                 TERMINATED: 05/18/2020
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE

Plaintiff
Carrie Cwiak                         represented by Elizabeth Karin Watson
M.D., M.P.H.                                        (See above for address)
                                                    LEAD ATTORNEY
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                 Rebecca Ann Chan
                                                 (See above for address)
                                                 TERMINATED: 10/28/2019
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE

                                                 Sean Young
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Susan Talcott Camp
                                                 (See above for address)
                                                 TERMINATED: 05/18/2020
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE

Plaintiff
Lisa Haddad                          represented by Elizabeth Karin Watson
M.D., M.S., M.P.H.                                  (See above for address)
                                                    LEAD ATTORNEY
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                 Rebecca Ann Chan
                                                 (See above for address)
                                                 TERMINATED: 10/28/2019
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE

                                                 Sean Young
                                                 (See above for address)

                                                                              6
      Case 1:19-cv-02973-SCJ Document 155 Filed 08/11/20 Page 7 of 110


                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Susan Talcott Camp
                                                         (See above for address)
                                                         TERMINATED: 05/18/2020
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE

Plaintiff
Eva Lathrop                                represented by Elizabeth Karin Watson
M.D., M.P.H., on behalf of themselves                     (See above for address)
and their patients                                        LEAD ATTORNEY
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

                                                         Rebecca Ann Chan
                                                         (See above for address)
                                                         TERMINATED: 10/28/2019
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE

                                                         Sean Young
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Susan Talcott Camp
                                                         (See above for address)
                                                         TERMINATED: 05/18/2020
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE


V.
Defendant
Brian Kemp                                 represented by Jeffrey Matthew Harris
Governor of the State of Georgia, in his                  Consovoy McCarthy PLLC
official capacity                                         1600 Wilson Blvd.
                                                          Suite 700
                                                          Arlington, VA 22209
                                                          202−321−4120
                                                          Email: jeff@consovoymccarthy.com
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                         Patrick Strawbridge
                                                         Consovoy McCarthy PLLC
                                                         8th Floor South PMB
                                                         Suite 706
                                                         Boston, MA 02109
                                                                                             7
      Case 1:19-cv-02973-SCJ Document 155 Filed 08/11/20 Page 8 of 110


                                                         617−227−0548
                                                         Email: patrick@consovoymccarthy.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Steven Christopher Begakis
                                                         Consovoy McCarthy PLLC
                                                         1600 Wilson Blvd.
                                                         Suite 700
                                                         Arlington, VA 22209
                                                         703−243−9423
                                                         Email: steven@consovoymccarthy.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Andrew Alan Pinson
                                                         Office of Attorney General−Atl
                                                         40 Capitol Square, S.W.
                                                         Atlanta, GA 30334
                                                         404−651−9453
                                                         Email: apinson@law.ga.gov
                                                         ATTORNEY TO BE NOTICED

Defendant
Christopher M. Carr                          represented by Jeffrey Matthew Harris
Georgia Attorney General, in his official                   (See above for address)
capacity                                                    LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                         Patrick Strawbridge
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Steven Christopher Begakis
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Andrew Alan Pinson
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Defendant
Kathleen Toomey                              represented by Andrew Alan Pinson
Georgia Commissioner for Department                         (See above for address)
of Public Health, in her official capacity                  ATTORNEY TO BE NOTICED

                                                         Jeffrey Matthew Harris
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                                                               8
     Case 1:19-cv-02973-SCJ Document 155 Filed 08/11/20 Page 9 of 110



Defendant
John S. Antalis                     represented by Andrew Alan Pinson
M.D.                                               (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                Jeffrey Matthew Harris
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

Defendant
Gretchen Collins                    represented by Andrew Alan Pinson
M.D.                                               (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                Jeffrey Matthew Harris
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

Defendant
Debi Dalton                         represented by Andrew Alan Pinson
M.D.                                               (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                Jeffrey Matthew Harris
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

Defendant
E. Daniel DeLoach                   represented by Andrew Alan Pinson
M.D.                                               (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                Jeffrey Matthew Harris
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

Defendant
Charmaine Faucher                   represented by Andrew Alan Pinson
PA−C                                               (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                Jeffrey Matthew Harris
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

Defendant
Michael Fowler, Sr.                 represented by Andrew Alan Pinson
C.F.S.P.                                           (See above for address)
                                                   ATTORNEY TO BE NOTICED
                                                                             9
    Case 1:19-cv-02973-SCJ Document 155 Filed 08/11/20 Page 10 of 110



                                                Jeffrey Matthew Harris
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

Defendant
Alexander S. Gross                  represented by Andrew Alan Pinson
M.D.                                               (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                Jeffrey Matthew Harris
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

Defendant
Thomas Hardin, Jr.                  represented by Andrew Alan Pinson
M.D.                                               (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                Jeffrey Matthew Harris
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

Defendant
Rob Law                             represented by Andrew Alan Pinson
C.F.A.                                             (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                Jeffrey Matthew Harris
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

Defendant
Matthew W. Norman                   represented by Andrew Alan Pinson
M.D.                                               (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                Jeffrey Matthew Harris
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

Defendant
David W. Retterbush                 represented by Andrew Alan Pinson
M.D.                                               (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                Jeffrey Matthew Harris
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                                             10
     Case 1:19-cv-02973-SCJ Document 155 Filed 08/11/20 Page 11 of 110



Defendant
Andrew Reisman                             represented by Andrew Alan Pinson
M.D.                                                      (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                       Jeffrey Matthew Harris
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

Defendant
Joe Sam Robinson                           represented by Andrew Alan Pinson
M.D.                                                      (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                       Jeffrey Matthew Harris
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

Defendant
Barby J. Simmons                           represented by Andrew Alan Pinson
D.O.                                                      (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                       Jeffrey Matthew Harris
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

Defendant
Richard L. Weil                            represented by Andrew Alan Pinson
M.D., Members of the Georgia                              (See above for address)
Composite Medical Board, in their                         ATTORNEY TO BE NOTICED
official capacities
                                                       Jeffrey Matthew Harris
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

Defendant
LaSharn Hughes                             represented by Andrew Alan Pinson
M.B.A., Executive Director of Georgia                     (See above for address)
Composite Medical Board, in her official                  ATTORNEY TO BE NOTICED
capacity
                                                       Jeffrey Matthew Harris
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

Defendant
Paul L. Howard, Jr.                        represented by Jeffrey Matthew Harris
District Attorney for Fulton County, in                   (See above for address)
his official capacity                                     ATTORNEY TO BE NOTICED
                                                                                    11
     Case 1:19-cv-02973-SCJ Document 155 Filed 08/11/20 Page 12 of 110



                                                        Joe Dally Whitley
                                                        Baker Donelson Bearman Caldwell &
                                                        Berkowitz, P.C.−GA
                                                        Monarch Plaza, Suite 1600
                                                        3414 Peachtree Road, NE
                                                        Atlanta, GA 30326−1164
                                                        404−223−2209
                                                        Fax: 404−238−9799.
                                                        Email: jwhitley@bakerdonelson.com
                                                        ATTORNEY TO BE NOTICED

                                                        Linda Ann Klein
                                                        Baker, Donelson, Bearman, Caldwell &
                                                        Berkowitz, PC− Atl
                                                        3414 Peachtree Road, N.E.
                                                        Suite 1600, Monarch Plaza
                                                        Atlanta, GA 30326
                                                        404−577−6000
                                                        Email: lklein@bakerdonelson.com
                                                        ATTORNEY TO BE NOTICED

                                                        Sarah Margaret Carrier
                                                        Baker Donelson Bearman Caldwell &
                                                        Berkowitz, P.C.−GA
                                                        Monarch Plaza, Suite 1600
                                                        3414 Peachtree Road, NE
                                                        Atlanta, GA 30326−1164
                                                        404−221−6535
                                                        Email: scarrier@bakerdonelson.com
                                                        ATTORNEY TO BE NOTICED

                                                        Steven G. Hall
                                                        Baker, Donelson, Bearman, Caldwell &
                                                        Berkowitz, P.C.−Atl
                                                        Suite 1600, Monarch Plaza
                                                        3414 Peachtree St., N.E.
                                                        Atlanta, GA 30326−1164
                                                        404−577−6000
                                                        Email: sghall@bakerdonelson.com
                                                        ATTORNEY TO BE NOTICED

Defendant
Sherry Boston                             represented by Erin Marie Morrissey Victoria
District Attorney for DeKalb County, in                  Baker & Hostetler LLP
her official capacity                                    Litigation
                                                         1170 Peachtree Street
                                                         Suite 2400
                                                         Atlanta, GA 30309
                                                         404−946−9813
                                                         Email: evictoria@bakerlaw.com
                                                         ATTORNEY TO BE NOTICED
                                                                                               12
     Case 1:19-cv-02973-SCJ Document 155 Filed 08/11/20 Page 13 of 110



                                                         Ian Kyle Byrnside
                                                         Baker & Hostetler, LLP−GA
                                                         Suite 2400
                                                         1170 Peachtree St., N.E.
                                                         Atlanta, GA 30309
                                                         404−256−8780
                                                         Email: ibyrnside@bakerlaw.com
                                                         ATTORNEY TO BE NOTICED

                                                         Jacqueline Tandy Menk
                                                         Baker Hostetler, LLP−Atl
                                                         Suite 2400
                                                         1170 Peachtree St., N.E.
                                                         Atlanta, GA 30309
                                                         404−946−9776
                                                         Email: jmenk@bakerlaw.com
                                                         ATTORNEY TO BE NOTICED

                                                         S. Derek Bauer
                                                         Baker Hostetler, LLP−Atl
                                                         Suite 2400
                                                         1170 Peachtree St., N.E.
                                                         Atlanta, GA 30309
                                                         404−256−8425
                                                         Fax: 404−459−5734.
                                                         Email: dbauer@bakerlaw.com
                                                         ATTORNEY TO BE NOTICED

Defendant
Julia Slater                                 represented by Andrew Alan Pinson
District Attorney for the Chattahoochee                     (See above for address)
Judicial Circuit, in her official capacity                  ATTORNEY TO BE NOTICED

                                                         Jeffrey Matthew Harris
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Defendant
Joyette M. Holmes                            represented by Jeffrey Matthew Harris
Acting District Attorney for the Cobb                       (See above for address)
Judicial Circuit, in her official capacity                  ATTORNEY TO BE NOTICED

Defendant
Danny Porter                                 represented by Andrew Alan Pinson
District Attorney for the Gwinnett                          (See above for address)
Judicial Circuit, in his official capacity                  ATTORNEY TO BE NOTICED

                                                         Jeffrey Matthew Harris
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED
                                                                                         13
     Case 1:19-cv-02973-SCJ Document 155 Filed 08/11/20 Page 14 of 110



Defendant
Meg Heap                                          represented by Andrew Alan Pinson
District Attorney for the Eastern Judicial                       (See above for address)
Circuit, in her official capacity                                ATTORNEY TO BE NOTICED

                                                                  Jeffrey Matthew Harris
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED


 Date Filed       #   Page Docket Text
 06/28/2019       1          COMPLAINT for Declaratory and Injunctive Relief (Filing fee $400, receipt
                             number AGANDC−8761556) filed by Atlanta Comprehensive Wellness Clinic,
                             SisterSong Women of Color Reproductive Justice Collective, Carrie Cwiak,
                             Summit Medical Associates, P.C., Columbus Women's Health Organization,
                             P.C., Lisa Haddad, FemHealth USA, Eva Lathrop, Feminist Women's Health
                             Center, Atlanta Women's Medical Center, Planned Parenthood Southeast, Inc..
                             (Attachments: # 1 Civil Cover Sheet)(rjs) Please visit our website at
                             http://www.gand.uscourts.gov/commonly−used−forms to obtain Pretrial
                             Instructions and Pretrial Associated Forms which includes the Consent To
                             Proceed Before U.S. Magistrate form. (Entered: 06/28/2019)
 06/28/2019                  Submission of 1 Complaint for Declaratory and Injunctive Relief to District
                             Judge Steve C. Jones. (rjs) (Entered: 06/28/2019)
 06/28/2019       2          Certificate of Interested Persons and Corporate Disclosure Statement by
                             Atlanta Comprehensive Wellness Clinic, Atlanta Women's Medical Center,
                             Columbus Women's Health Organization, P.C., Carrie Cwiak, FemHealth
                             USA, Feminist Women's Health Center, Lisa Haddad, Eva Lathrop, Planned
                             Parenthood Southeast, Inc., SisterSong Women of Color Reproductive Justice
                             Collective, Summit Medical Associates, P.C. identifying Corporate Parent
                             Ninepatch for Atlanta Comprehensive Wellness Clinic; Corporate Parent
                             Humedco Corp. for Atlanta Women's Medical Center. (Young, Sean) (Entered:
                             06/28/2019)
 06/28/2019       3          Electronic Summons Issued as to John S. Antalis, Sherry Boston, Christopher
                             M. Carr, Gretchen Collins, Debi Dalton, E. Daniel DeLoach, Charmaine
                             Faucher, Michael Fowler, Sr., Alexander S. Gross, Thomas Hardin, Jr., Meg
                             Heap, Paul L. Howard, Jr., LaSharn Hughes, Brian Kemp, Rob Law, John
                             Melvin, Matthew W. Norman, Danny Porter, Andrew Reisman, David W.
                             Retterbush, Joe Sam Robinson, Barby J. Simmons, Julia Slater, Kathleen
                             Toomey, Richard L. Weil. (Attachments: # 1 Summons, # 2 Summons, # 3
                             Summons, # 4 Summons, # 5 Summons, # 6 Summons, # 7 Summons, # 8
                             Summons, # 9 Summons, # 10 Summons, # 11 Summons, # 12 Summons, # 13
                             Summons, # 14 Summons, # 15 Summons, # 16 Summons, # 17 Summons, #
                             18 Summons, # 19 Summons, # 20 Summons, # 21 Summons, # 22 Summons,
                             # 23 Summons, # 24 Summons)(rjs) (Entered: 06/28/2019)
 06/28/2019       4          APPLICATION for Admission of Julie Rikelman Pro Hac Vice (Application
                             fee $ 150, receipt number AGANDC−8763509). Documents for this entry are
                             not available for viewing outside the courthouse.by Columbus Women's Health
                             Organization, P.C., Feminist Women's Health Center. (Young, Sean) (Entered:
                                                                                                           14
   Case 1:19-cv-02973-SCJ Document 155 Filed 08/11/20 Page 15 of 110



                   06/28/2019)
06/28/2019   5     APPLICATION for Admission of Kirby Tyrrell Pro Hac Vice (Application fee
                   $ 150, receipt number AGANDC−8763565). Documents for this entry are not
                   available for viewing outside the courthouse.by Columbus Women's Health
                   Organization, P.C., Feminist Women's Health Center. (Young, Sean) (Entered:
                   06/28/2019)
06/28/2019   6     APPLICATION for Admission of Emily Nestler Pro Hac Vice (Application fee
                   $ 150, receipt number AGANDC−8763599). Documents for this entry are not
                   available for viewing outside the courthouse.by Columbus Women's Health
                   Organization, P.C., Feminist Women's Health Center. (Young, Sean) (Entered:
                   06/28/2019)
06/28/2019   7     APPLICATION for Admission of Carrie Y. Flaxman Pro Hac Vice
                   (Application fee $ 150, receipt number AGANDC−8763574). Documents for
                   this entry are not available for viewing outside the courthouse.by Planned
                   Parenthood Southeast, Inc.. (Young, Sean) (Entered: 06/28/2019)
06/28/2019   8     APPLICATION for Admission of Susan Lambiase Pro Hac Vice (Application
                   fee $ 150, receipt number AGANDC−8763638). Documents for this entry are
                   not available for viewing outside the courthouse.by Planned Parenthood
                   Southeast, Inc.. (Young, Sean) (Entered: 06/28/2019)
06/28/2019   9     APPLICATION for Admission of Susan Lambiase Pro Hac Vice. Documents
                   for this entry are not available for viewing outside the courthouse.by Planned
                   Parenthood Southeast, Inc.. (Young, Sean) (Entered: 06/28/2019)
07/05/2019         RETURN of 9 APPLICATION for Admission of Susan Lambiase Pro Hac
                   Vice. Documents for this entry are not available for viewing outside the
                   courthouse. to attorney for correction re: duplicate. (pmb) (Entered:
                   07/05/2019)
07/05/2019         RETURN of 8 APPLICATION for Admission of Susan Lambiase Pro Hac
                   Vice (Application fee $ 150, receipt number AGANDC−8763638). Documents
                   for this entry are not available for viewing outside the courthouse. to attorney
                   for correction re: petitioner's address. (pmb) (Entered: 07/05/2019)
07/05/2019         RETURN of 7 APPLICATION for Admission of Carrie Y. Flaxman Pro Hac
                   Vice (Application fee $ 150, receipt number AGANDC−8763574). Documents
                   for this entry are not available for viewing outside the courthouse. to attorney
                   for correction re: petitioner's address. (pmb) (Entered: 07/05/2019)
07/05/2019         APPROVAL by Clerks Office re: 6 APPLICATION for Admission of Emily
                   Nestler Pro Hac Vice (Application fee $ 150, receipt number
                   AGANDC−8763599). Documents for this entry are not available for viewing
                   outside the courthouse.. Attorney Emily B. Nestler added appearing on behalf
                   of Columbus Women's Health Organization, P.C., Feminist Women's Health
                   Center (pmb) (Entered: 07/05/2019)
07/08/2019   10    PROPOSED SUMMONS filed by Atlanta Comprehensive Wellness Clinic,
                   Atlanta Women's Medical Center, Columbus Women's Health Organization,
                   P.C., Carrie Cwiak, FemHealth USA, Feminist Women's Health Center, Lisa
                   Haddad, Eva Lathrop, Planned Parenthood Southeast, Inc., SisterSong Women
                   of Color Reproductive Justice Collective, Summit Medical Associates, P.C.

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                   Joyette Holmes, new Cobb County District Attorney (Young, Sean) (Entered:
                   07/08/2019)
07/08/2019         APPROVAL by Clerks Office re: 4 APPLICATION for Admission of Julie
                   Rikelman Pro Hac Vice (Application fee $ 150, receipt number
                   AGANDC−8763509). Documents for this entry are not available for viewing
                   outside the courthouse.. Attorney Julie Rikelman added appearing on behalf of
                   Columbus Women's Health Organization, P.C., Feminist Women's Health
                   Center (pmb) (Entered: 07/08/2019)
07/08/2019         APPROVAL by Clerks Office re: 5 APPLICATION for Admission of Kirby
                   Tyrrell Pro Hac Vice (Application fee $ 150, receipt number
                   AGANDC−8763565). Documents for this entry are not available for viewing
                   outside the courthouse.. Attorney Kirby Tyrrell added appearing on behalf of
                   Columbus Women's Health Organization, P.C., Feminist Women's Health
                   Center (pmb) (Entered: 07/08/2019)
07/09/2019   11    APPLICATION for Admission of Carrie Y. Flaxman Pro Hac Vice.
                   Documents for this entry are not available for viewing outside the
                   courthouse.by Planned Parenthood Southeast, Inc.. (Young, Sean) (Entered:
                   07/09/2019)
07/09/2019   12    APPLICATION for Admission of Susan Lambiase Pro Hac Vice. Documents
                   for this entry are not available for viewing outside the courthouse.by Planned
                   Parenthood Southeast, Inc.. (Young, Sean) (Entered: 07/09/2019)
07/09/2019   13    ORDER granting 4 Application for Admission Pro Hac Vice for Julie
                   Rikelman. Signed by Judge Steve C. Jones on 7/9/2019. If the applicant does
                   not have CM/ECF access in the Northern District of Georgia already, they must
                   request access at http://pacer.gov. If they have electronically filed in this
                   district in a previous case, please omit this step.(rjs) (Entered: 07/09/2019)
07/09/2019         Clerk's Certificate of Mailing to Julie Rikelman re 13 Order on Application for
                   Admission PHV. (rjs) (Entered: 07/09/2019)
07/09/2019   14    ORDER granting 5 Application for Admission Pro Hac Vice for Kirby Tyrrell.
                   Signed by Judge Steve C. Jones on 7/9/2019. If the applicant does not have
                   CM/ECF access in the Northern District of Georgia already, they must request
                   access at http://pacer.gov. If they have electronically filed in this district in a
                   previous case, please omit this step.(rjs) (Entered: 07/09/2019)
07/09/2019         Clerk's Certificate of Mailing to Kirby Tyrrell re 14 Order on Application for
                   Admission PHV. (rjs) (Entered: 07/09/2019)
07/09/2019   15    ORDER granting 6 Application for Admission Pro Hac Vice for Emily Nestler.
                   Signed by Judge Steve C. Jones on 7/9/2019. If the applicant does not have
                   CM/ECF access in the Northern District of Georgia already, they must request
                   access at http://pacer.gov. If they have electronically filed in this district in a
                   previous case, please omit this step.(rjs) (Entered: 07/09/2019)
07/09/2019   16    Electronic Summons Issued as to Joyette Holmes. (rjs) (Entered: 07/09/2019)
07/12/2019         APPROVAL by Clerks Office re: 11 APPLICATION for Admission of Carrie
                   Y. Flaxman Pro Hac Vice. Documents for this entry are not available for
                   viewing outside the courthouse.. Attorney Sean Young added appearing on
                   behalf of Atlanta Comprehensive Wellness Clinic (jkm) (Entered: 07/12/2019)
                                                                                                         16
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07/12/2019         APPROVAL by Clerks Office re: 12 APPLICATION for Admission of Susan
                   Lambiase Pro Hac Vice. Documents for this entry are not available for viewing
                   outside the courthouse.. Attorney Sean Young added appearing on behalf of
                   Planned Parenthood Southeast, Inc. (jkm) (Entered: 07/12/2019)
07/15/2019   17    ORDER granting 11 Application for Admission Pro Hac Vice for Carrie Y.
                   Flaxman. Signed by Judge Steve C. Jones on 7/15/2019. If the applicant does
                   not have CM/ECF access in the Northern District of Georgia already, they must
                   request access at http://pacer.gov. If they have electronically filed in this
                   district in a previous case, please omit this step.(rjs) (Entered: 07/15/2019)
07/15/2019         Clerk's Certificate of Mailing to Carrie Y. Flaxman re 17 Order on Application
                   for Admission PHV. (rjs) (Entered: 07/15/2019)
07/15/2019   18    ORDER granting 12 Application for Admission Pro Hac Vice for Susan
                   Lambiase. Signed by Judge Steve C. Jones on 7/15/2019. If the applicant does
                   not have CM/ECF access in the Northern District of Georgia already, they must
                   request access at http://pacer.gov. If they have electronically filed in this
                   district in a previous case, please omit this step.(rjs) (Entered: 07/15/2019)
07/15/2019         Clerk's Certificate of Mailing to Susan Lambiase re 18 Order on Application
                   for Admission PHV. (rjs) (Entered: 07/15/2019)
07/18/2019   19    APPLICATION for Admission of Elizabeth Karin Watson Pro Hac Vice
                   (Application fee $ 150, receipt number AGANDC−8803923). Documents for
                   this entry are not available for viewing outside the courthouse.by Atlanta
                   Comprehensive Wellness Clinic, Atlanta Women's Medical Center, Carrie
                   Cwiak, FemHealth USA, Lisa Haddad, Eva Lathrop, SisterSong Women of
                   Color Reproductive Justice Collective, Summit Medical Associates, P.C..
                   (Young, Sean) (Entered: 07/18/2019)
07/18/2019   20    APPLICATION for Admission of Rebecca Ann Chan Pro Hac Vice
                   (Application fee $ 150, receipt number AGANDC−8803939). Documents for
                   this entry are not available for viewing outside the courthouse.by Atlanta
                   Comprehensive Wellness Clinic, Atlanta Women's Medical Center, Carrie
                   Cwiak, FemHealth USA, Lisa Haddad, Eva Lathrop, SisterSong Women of
                   Color Reproductive Justice Collective, Summit Medical Associates, P.C..
                   (Young, Sean) (Entered: 07/18/2019)
07/18/2019   21    APPLICATION for Admission of Susan Talcott Camp Pro Hac Vice
                   (Application fee $ 150, receipt number AGANDC−8803948). Documents for
                   this entry are not available for viewing outside the courthouse.by Atlanta
                   Comprehensive Wellness Clinic, Atlanta Women's Medical Center, Carrie
                   Cwiak, FemHealth USA, Lisa Haddad, Eva Lathrop, SisterSong Women of
                   Color Reproductive Justice Collective, Summit Medical Associates, P.C..
                   (Young, Sean) (Entered: 07/18/2019)
07/19/2019   22    Return of Service Executed by Atlanta Comprehensive Wellness Clinic,
                   SisterSong Women of Color Reproductive Justice Collective, Carrie Cwiak,
                   Summit Medical Associates, P.C., Columbus Women's Health Organization,
                   P.C., Lisa Haddad, FemHealth USA, Eva Lathrop, Feminist Women's Health
                   Center, Atlanta Women's Medical Center, Planned Parenthood Southeast, Inc..
                   Brian Kemp served on 7/10/2019, answer due 7/31/2019. (Young, Sean)
                   (Entered: 07/19/2019)

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07/19/2019   23    Return of Service Executed by Atlanta Comprehensive Wellness Clinic,
                   SisterSong Women of Color Reproductive Justice Collective, Carrie Cwiak,
                   Summit Medical Associates, P.C., Columbus Women's Health Organization,
                   P.C., Lisa Haddad, FemHealth USA, Eva Lathrop, Feminist Women's Health
                   Center, Atlanta Women's Medical Center, Planned Parenthood Southeast, Inc..
                   Christopher M. Carr served on 7/10/2019, answer due 7/31/2019. (Young,
                   Sean) (Entered: 07/19/2019)
07/23/2019   24    MOTION for Preliminary Injunction with Brief In Support by Atlanta
                   Comprehensive Wellness Clinic, Atlanta Women's Medical Center, Columbus
                   Women's Health Organization, P.C., Carrie Cwiak, FemHealth USA, Feminist
                   Women's Health Center, Lisa Haddad, Eva Lathrop, Planned Parenthood
                   Southeast, Inc., SisterSong Women of Color Reproductive Justice Collective,
                   Summit Medical Associates, P.C.. (Attachments: # 1 Brief in Support of Pls.'
                   Mot. for Prelin. Inj., # 2 Declaration of Sean J. Young, # 3 Exhibit A, # 4
                   Exhibit B, # 5 Exhibit C, # 6 Exhibit D, # 7 Exhibit E, # 8 Exhibit F, # 9 Text
                   of Proposed Order)(Young, Sean) (Entered: 07/23/2019)
07/24/2019   25    ORDER re 24 MOTION for Preliminary Injunction: Defendants who wish to
                   file a response brief shall do so by Monday, August 12, 2019. Plaintiffs' reply
                   brief is due by Thursday, August 29, 2019. The Court will hold a hearing on
                   Plaintiffs' Motion for Preliminary Injunction on Wednesday, September 18,
                   2019, at 10:00 a.m. in Courtroom 1907. As no entry of appearance has yet been
                   made by or on behalf of Defendants, counsel for Plaintiffs is directed to serve
                   Defendant with notice of this proceeding. Signed by Judge Steve C. Jones on
                   7/24/2019. (rjs) (Entered: 07/24/2019)
07/24/2019         RETURN of 19 APPLICATION for Admission of Elizabeth Karin Watson Pro
                   Hac Vice (Application fee $ 150, receipt number AGANDC−8803923).
                   Documents for this entry are not available for viewing outside the courthouse.
                   to attorney for correction re: local counsel. (pmb) (Entered: 07/24/2019)
07/24/2019         RETURN of 20 APPLICATION for Admission of Rebecca Ann Chan Pro Hac
                   Vice (Application fee $ 150, receipt number AGANDC−8803939). Documents
                   for this entry are not available for viewing outside the courthouse. to attorney
                   for correction re: local counsel. (pmb) (Entered: 07/24/2019)
07/24/2019         RETURN of 21 APPLICATION for Admission of Susan Talcott Camp Pro
                   Hac Vice (Application fee $ 150, receipt number AGANDC−8803948).
                   Documents for this entry are not available for viewing outside the courthouse.
                   to attorney for correction re: local counsel. (pmb) (Entered: 07/24/2019)
07/30/2019   26    Return of Service Executed by Atlanta Comprehensive Wellness Clinic,
                   SisterSong Women of Color Reproductive Justice Collective, Carrie Cwiak,
                   Summit Medical Associates, P.C., Columbus Women's Health Organization,
                   P.C., Lisa Haddad, FemHealth USA, Eva Lathrop, Feminist Women's Health
                   Center, Atlanta Women's Medical Center, Planned Parenthood Southeast, Inc..
                   Kathleen Toomey served on 7/25/2019, answer due 8/15/2019. (Young, Sean)
                   (Entered: 07/30/2019)
07/30/2019   27    Return of Service Executed by Atlanta Comprehensive Wellness Clinic,
                   SisterSong Women of Color Reproductive Justice Collective, Carrie Cwiak,
                   Summit Medical Associates, P.C., Columbus Women's Health Organization,
                   P.C., Lisa Haddad, FemHealth USA, Eva Lathrop, Feminist Women's Health

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                   Center, Atlanta Women's Medical Center, Planned Parenthood Southeast, Inc..
                   Paul L. Howard, Jr served on 7/25/2019, answer due 8/15/2019. (Young, Sean)
                   (Entered: 07/30/2019)
07/30/2019   28    Return of Service Executed by Atlanta Comprehensive Wellness Clinic,
                   SisterSong Women of Color Reproductive Justice Collective, Carrie Cwiak,
                   Summit Medical Associates, P.C., Columbus Women's Health Organization,
                   P.C., Lisa Haddad, FemHealth USA, Eva Lathrop, Feminist Women's Health
                   Center, Atlanta Women's Medical Center, Planned Parenthood Southeast, Inc..
                   John Melvin served on 7/25/2019, answer due 8/15/2019. (Young, Sean)
                   (Entered: 07/30/2019)
07/30/2019   29    Return of Service Executed by Atlanta Comprehensive Wellness Clinic,
                   SisterSong Women of Color Reproductive Justice Collective, Carrie Cwiak,
                   Summit Medical Associates, P.C., Columbus Women's Health Organization,
                   P.C., Lisa Haddad, FemHealth USA, Eva Lathrop, Feminist Women's Health
                   Center, Atlanta Women's Medical Center, Planned Parenthood Southeast, Inc..
                   Danny Porter served on 7/25/2019, answer due 8/15/2019. (Young, Sean)
                   (Entered: 07/30/2019)
07/30/2019   30    Return of Service Executed by Atlanta Comprehensive Wellness Clinic,
                   SisterSong Women of Color Reproductive Justice Collective, Carrie Cwiak,
                   Summit Medical Associates, P.C., Columbus Women's Health Organization,
                   P.C., Lisa Haddad, FemHealth USA, Eva Lathrop, Feminist Women's Health
                   Center, Atlanta Women's Medical Center, Planned Parenthood Southeast, Inc..
                   Gretchen Collins served on 7/25/2019, answer due 8/15/2019. (Young, Sean)
                   (Entered: 07/30/2019)
07/30/2019   31    Return of Service Executed by Atlanta Comprehensive Wellness Clinic,
                   SisterSong Women of Color Reproductive Justice Collective, Carrie Cwiak,
                   Summit Medical Associates, P.C., Columbus Women's Health Organization,
                   P.C., Lisa Haddad, FemHealth USA, Eva Lathrop, Feminist Women's Health
                   Center, Atlanta Women's Medical Center, Planned Parenthood Southeast, Inc..
                   Alexander S. Gross served on 7/29/2019, answer due 8/19/2019. (Young, Sean)
                   (Entered: 07/30/2019)
07/30/2019   32    Return of Service Executed by Atlanta Comprehensive Wellness Clinic,
                   SisterSong Women of Color Reproductive Justice Collective, Carrie Cwiak,
                   Summit Medical Associates, P.C., Columbus Women's Health Organization,
                   P.C., Lisa Haddad, FemHealth USA, Eva Lathrop, Feminist Women's Health
                   Center, Atlanta Women's Medical Center, Planned Parenthood Southeast, Inc..
                   Andrew Reisman served on 7/29/2019, answer due 8/19/2019. (Young, Sean)
                   (Entered: 07/30/2019)
07/30/2019   33    Return of Service Executed by Atlanta Comprehensive Wellness Clinic,
                   SisterSong Women of Color Reproductive Justice Collective, Carrie Cwiak,
                   Summit Medical Associates, P.C., Columbus Women's Health Organization,
                   P.C., Lisa Haddad, FemHealth USA, Eva Lathrop, Feminist Women's Health
                   Center, Atlanta Women's Medical Center, Planned Parenthood Southeast, Inc..
                   Charmaine Faucher served on 7/24/2019, answer due 8/14/2019. (Young,
                   Sean) (Entered: 07/30/2019)
07/30/2019   34    Return of Service Executed by Atlanta Comprehensive Wellness Clinic,
                   SisterSong Women of Color Reproductive Justice Collective, Carrie Cwiak,

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                   Summit Medical Associates, P.C., Columbus Women's Health Organization,
                   P.C., Lisa Haddad, FemHealth USA, Eva Lathrop, Feminist Women's Health
                   Center, Atlanta Women's Medical Center, Planned Parenthood Southeast, Inc..
                   Rob Law served on 7/24/2019, answer due 8/14/2019. (Young, Sean) (Entered:
                   07/30/2019)
07/30/2019   35    Return of Service Executed by Atlanta Comprehensive Wellness Clinic,
                   SisterSong Women of Color Reproductive Justice Collective, Carrie Cwiak,
                   Summit Medical Associates, P.C., Columbus Women's Health Organization,
                   P.C., Lisa Haddad, FemHealth USA, Eva Lathrop, Feminist Women's Health
                   Center, Atlanta Women's Medical Center, Planned Parenthood Southeast, Inc..
                   LaSharn Hughes served on 7/25/2019, answer due 8/15/2019. (Young, Sean)
                   (Entered: 07/30/2019)
07/30/2019   36    Return of Service Executed by Atlanta Comprehensive Wellness Clinic,
                   SisterSong Women of Color Reproductive Justice Collective, Carrie Cwiak,
                   Summit Medical Associates, P.C., Columbus Women's Health Organization,
                   P.C., Lisa Haddad, FemHealth USA, Eva Lathrop, Feminist Women's Health
                   Center, Atlanta Women's Medical Center, Planned Parenthood Southeast, Inc..
                   Richard L. Weil served on 7/29/2019, answer due 8/19/2019. (Young, Sean)
                   (Entered: 07/30/2019)
07/30/2019   37    Return of Service Unexecuted by Atlanta Comprehensive Wellness Clinic,
                   SisterSong Women of Color Reproductive Justice Collective, Carrie Cwiak,
                   Summit Medical Associates, P.C., Columbus Women's Health Organization,
                   P.C., Lisa Haddad, FemHealth USA, Eva Lathrop, Feminist Women's Health
                   Center, Atlanta Women's Medical Center, Planned Parenthood Southeast, Inc.
                   as to Debi Dalton. (Young, Sean) (Entered: 07/30/2019)
07/30/2019   38    Return of Service Unexecuted by Atlanta Comprehensive Wellness Clinic,
                   SisterSong Women of Color Reproductive Justice Collective, Carrie Cwiak,
                   Summit Medical Associates, P.C., Columbus Women's Health Organization,
                   P.C., Lisa Haddad, FemHealth USA, Eva Lathrop, Feminist Women's Health
                   Center, Atlanta Women's Medical Center, Planned Parenthood Southeast, Inc.
                   as to Thomas Hardin, Jr. (Young, Sean) (Entered: 07/30/2019)
07/30/2019   39    Return of Service Unexecuted by Atlanta Comprehensive Wellness Clinic,
                   SisterSong Women of Color Reproductive Justice Collective, Carrie Cwiak,
                   Summit Medical Associates, P.C., Columbus Women's Health Organization,
                   P.C., Lisa Haddad, FemHealth USA, Eva Lathrop, Feminist Women's Health
                   Center, Atlanta Women's Medical Center, Planned Parenthood Southeast, Inc.
                   as to Barby J. Simmons. (Young, Sean) (Entered: 07/30/2019)
07/30/2019   40    NOTICE of Appearance by Andrew Alan Pinson on behalf of John S. Antalis,
                   Christopher M. Carr, Gretchen Collins, Debi Dalton, E. Daniel DeLoach,
                   Charmaine Faucher, Michael Fowler, Sr, Alexander S. Gross, Thomas Hardin,
                   Jr, LaSharn Hughes, Brian Kemp, Rob Law, Matthew W. Norman, Andrew
                   Reisman, David W. Retterbush, Joe Sam Robinson, Barby J. Simmons,
                   Kathleen Toomey, Richard L. Weil (Pinson, Andrew) (Entered: 07/30/2019)
07/30/2019   41    Certificate of Interested Persons by John S. Antalis, Christopher M. Carr,
                   Gretchen Collins, Debi Dalton, E. Daniel DeLoach, Charmaine Faucher,
                   Michael Fowler, Sr, Alexander S. Gross, Thomas Hardin, Jr, LaSharn Hughes,
                   Brian Kemp, Rob Law, Matthew W. Norman, Andrew Reisman, David W.

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                   Retterbush, Joe Sam Robinson, Barby J. Simmons, Kathleen Toomey, Richard
                   L. Weil. (Pinson, Andrew) (Entered: 07/30/2019)
07/30/2019   42    Unopposed MOTION for Extension of Time file Answer and opposition to
                   Motion for Preliminary Injunction by John S. Antalis, Christopher M. Carr,
                   Gretchen Collins, Debi Dalton, E. Daniel DeLoach, Charmaine Faucher,
                   Michael Fowler, Sr, Alexander S. Gross, Thomas Hardin, Jr, LaSharn Hughes,
                   Brian Kemp, Rob Law, Matthew W. Norman, Andrew Reisman, David W.
                   Retterbush, Joe Sam Robinson, Barby J. Simmons, Kathleen Toomey, Richard
                   L. Weil. (Attachments: # 1 Text of Proposed Order file Answer and opposition
                   to Motion for Preliminary Injunction)(Pinson, Andrew) (Entered: 07/30/2019)
07/30/2019   43    APPLICATION for Admission of Elizabeth Karin Watson Pro Hac Vice.
                   Documents for this entry are not available for viewing outside the
                   courthouse.by Atlanta Comprehensive Wellness Clinic, Atlanta Women's
                   Medical Center, Carrie Cwiak, FemHealth USA, Lisa Haddad, Eva Lathrop,
                   SisterSong Women of Color Reproductive Justice Collective, Summit Medical
                   Associates, P.C.. (Young, Sean) (Entered: 07/30/2019)
07/30/2019   44    APPLICATION for Admission of Susan Talcott Camp Pro Hac Vice.
                   Documents for this entry are not available for viewing outside the
                   courthouse.by Atlanta Comprehensive Wellness Clinic, Atlanta Women's
                   Medical Center, Carrie Cwiak, FemHealth USA, Lisa Haddad, Eva Lathrop,
                   SisterSong Women of Color Reproductive Justice Collective, Summit Medical
                   Associates, P.C.. (Young, Sean) (Entered: 07/30/2019)
07/30/2019   45    APPLICATION for Admission of Rebecca Ann Chan Pro Hac Vice.
                   Documents for this entry are not available for viewing outside the
                   courthouse.by Atlanta Comprehensive Wellness Clinic, Atlanta Women's
                   Medical Center, Carrie Cwiak, FemHealth USA, Lisa Haddad, Eva Lathrop,
                   SisterSong Women of Color Reproductive Justice Collective, Summit Medical
                   Associates, P.C.. (Young, Sean) (Entered: 07/30/2019)
07/30/2019   46    ORDER granting 42 Motion for Extension of Time. The deadlines for all
                   Defendants to file Answers or Oppositions to Plaintiffs' motion for preliminary
                   injunction shall be extended to August 19, 2019. Plaintiffs' deadline to reply to
                   the Motion for Preliminary Injunction [Doc. 24] is similarly extended to
                   September 6, 2019. In light of this change, the HEARING on Plaintiffs' Motion
                   for Preliminary Injunction is RESET for MONDAY, SEPTEMBER 23, 2019 at
                   10:00 AM in Courtroom 1907. Signed by Judge Steve C. Jones on 7/30/2019.
                   (rjs) (Entered: 07/30/2019)
07/30/2019         Set Deadlines/Hearings: All Defendants to file Answers August 19, 2019. (rjs)
                   (Entered: 07/30/2019)
07/31/2019   47    CERTIFICATE OF SERVICE re 3 Electronic Summons Issued,,, 25 Order
                   Setting Hearing on Motion,, 1 Complaint,, 24 MOTION for Preliminary
                   Injunction filed by Atlanta Comprehensive Wellness Clinic, Atlanta Women's
                   Medical Center, Columbus Women's Health Organization, P.C., Carrie Cwiak,
                   FemHealth USA, Feminist Women's Health Center, Lisa Haddad, Eva Lathrop,
                   Planned Parenthood Southeast, Inc., SisterSong Women of Color Reproductive
                   Justice Collective, Summit Medical Associates, P.C. re: Defendants Kemp,
                   Carr, Toomey, and the Members and Executive Director of the Georgia
                   Composite Medical Board (Young, Sean) (Entered: 07/31/2019)

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08/01/2019         APPROVAL by Clerks Office re: 43 APPLICATION for Admission of
                   Elizabeth Karin Watson Pro Hac Vice. Documents for this entry are not
                   available for viewing outside the courthouse. (Application fee $ 150, receipt
                   number AGANDC−8803923). Attorney Sean Young added appearing on
                   behalf of SisterSong Women of Color Reproductive Justice Collective (jkm)
                   (Entered: 08/01/2019)
08/01/2019         APPROVAL by Clerks Office re: 44 APPLICATION for Admission of Susan
                   Talcott Camp Pro Hac Vice. Documents for this entry are not available for
                   viewing outside the courthouse. (Application fee $ 150, receipt number
                   AGANDC−8803948). Attorney Sean Young added appearing on behalf of
                   Atlanta Comprehensive Wellness Clinic, et al. (jkm) (Entered: 08/01/2019)
08/01/2019         APPROVAL by Clerks Office re: 45 APPLICATION for Admission of
                   Rebecca Ann Chan Pro Hac Vice. Documents for this entry are not available
                   for viewing outside the courthouse. (Application fee $ 150, receipt number
                   AGANDC−8803939).. Attorney Sean Young added appearing on behalf of
                   SisterSong Women of Color Reproductive Justice Collective et al. (jkm)
                   (Entered: 08/01/2019)
08/01/2019   48    Return of Service Unexecuted by Atlanta Comprehensive Wellness Clinic,
                   SisterSong Women of Color Reproductive Justice Collective, Carrie Cwiak,
                   Summit Medical Associates, P.C., Columbus Women's Health Organization,
                   P.C., Lisa Haddad, FemHealth USA, Eva Lathrop, Feminist Women's Health
                   Center, Atlanta Women's Medical Center, Planned Parenthood Southeast, Inc.
                   as to E. Daniel DeLoach. (Young, Sean) (Entered: 08/01/2019)
08/01/2019   49    Return of Service Executed by Atlanta Comprehensive Wellness Clinic,
                   SisterSong Women of Color Reproductive Justice Collective, Carrie Cwiak,
                   Summit Medical Associates, P.C., Columbus Women's Health Organization,
                   P.C., Lisa Haddad, FemHealth USA, Eva Lathrop, Feminist Women's Health
                   Center, Atlanta Women's Medical Center, Planned Parenthood Southeast, Inc..
                   Meg Heap served on 7/31/2019, answer due 8/21/2019. (Young, Sean)
                   (Entered: 08/01/2019)
08/01/2019   50    ACKNOWLEDGMENT OF SERVICE Executed filed by Sherry Boston.
                   Sherry Boston served on 8/1/2019, answer due 8/19/2019. (Bauer, S.) (Entered:
                   08/01/2019)
08/01/2019   51    Unopposed MOTION for Extension of Time to File Answer by Sherry Boston.
                   (Attachments: # 1 Text of Proposed Order Granting Unopposed Motion for
                   Extension of Time To Answer Complaint)(Bauer, S.) (Entered: 08/01/2019)
08/02/2019   52    ORDER granting 51 Motion for Extension of Time to Answer. The time for
                   Defendant Sherry Boston to file a responsive pleading to Plaintiffs' Complaint
                   is extended to and including September 21, 2019. Signed by Judge Steve C.
                   Jones on 8/2/2019. (rjs) (Entered: 08/02/2019)
08/02/2019   53    ORDER granting 45 Application for Admission Pro Hac Vice for Rebecca Ann
                   Chan. Signed by Judge Steve C. Jones on 8/2/2019. If the applicant does not
                   have CM/ECF access in the Northern District of Georgia already, they must
                   request access at http://pacer.gov. If they have electronically filed in this
                   district in a previous case, please omit this step.(rjs) (Entered: 08/02/2019)
08/02/2019

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                   Clerk's Certificate of Mailing to Rebecca Ann Chan re 53 Order on Application
                   for Admission PHV. (rjs) (Entered: 08/02/2019)
08/02/2019   54    ORDER granting 44 Application for Admission Pro Hac Vice for Susan
                   Talcott Camp. Signed by Judge Steve C. Jones on 8/2/2019. If the applicant
                   does not have CM/ECF access in the Northern District of Georgia already, they
                   must request access at http://pacer.gov. If they have electronically filed in this
                   district in a previous case, please omit this step.(rjs) (Entered: 08/02/2019)
08/02/2019         Clerk's Certificate of Mailing to Susan Talcott Camp re 54 Order on
                   Application for Admission PHV. (rjs) (Entered: 08/02/2019)
08/02/2019   55    ORDER granting 43 Application for Admission Pro Hac Vice for Elizabeth
                   Karin Watson. Signed by Judge Steve C. Jones on 8/2/2019. If the applicant
                   does not have CM/ECF access in the Northern District of Georgia already, they
                   must request access at http://pacer.gov. If they have electronically filed in this
                   district in a previous case, please omit this step.(rjs) (Entered: 08/02/2019)
08/02/2019         Clerk's Certificate of Mailing to Elizabeth Karin Watson re 55 Order on
                   Application for Admission PHV. (rjs) (Entered: 08/02/2019)
08/02/2019   56    Return of Service Executed by Atlanta Comprehensive Wellness Clinic,
                   SisterSong Women of Color Reproductive Justice Collective, Carrie Cwiak,
                   Summit Medical Associates, P.C., Columbus Women's Health Organization,
                   P.C., Lisa Haddad, FemHealth USA, Eva Lathrop, Feminist Women's Health
                   Center, Atlanta Women's Medical Center, Planned Parenthood Southeast, Inc..
                   Julia Slater served on 7/31/2019, answer due 8/21/2019. (Young, Sean)
                   (Entered: 08/02/2019)
08/02/2019   57    CERTIFICATE OF SERVICE re 25 Order Setting Hearing on Motion,, filed
                   by Atlanta Comprehensive Wellness Clinic, Atlanta Women's Medical Center,
                   Columbus Women's Health Organization, P.C., Carrie Cwiak, FemHealth
                   USA, Feminist Women's Health Center, Lisa Haddad, Eva Lathrop, Planned
                   Parenthood Southeast, Inc., SisterSong Women of Color Reproductive Justice
                   Collective, Summit Medical Associates, P.C. re: Defendants Melvin, Porter,
                   Heap, Slater, Boston (Young, Sean) (Entered: 08/02/2019)
08/05/2019   58    CERTIFICATE OF SERVICE re 25 Order Setting Hearing on Motion,, 1
                   Complaint,, 46 Order on Motion for Extension of Time,, 24 MOTION for
                   Preliminary Injunction filed by Atlanta Comprehensive Wellness Clinic,
                   Atlanta Women's Medical Center, Columbus Women's Health Organization,
                   P.C., Carrie Cwiak, FemHealth USA, Feminist Women's Health Center, Lisa
                   Haddad, Eva Lathrop, Planned Parenthood Southeast, Inc., SisterSong Women
                   of Color Reproductive Justice Collective, Summit Medical Associates, P.C. re:
                   Julia Slater and Meg Heap (Young, Sean) (Entered: 08/05/2019)
08/05/2019   59    NOTICE by Sherry Boston re 52 Order on Motion for Extension of Time to
                   Answer, (Attachments: # 1 Text of Proposed Order)(Bauer, S.) (Entered:
                   08/05/2019)
08/06/2019   60    ORDER granting 51 Motion for Extension of Time to Answer. The time for
                   Defendant Sherry Boston to file a responsive pleading to Plaintiffs' Complaint
                   is extended to and including September 30, 2019. Signed by Judge Steve C.
                   Jones on 8/6/2019. (rjs) (Entered: 08/06/2019)


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08/07/2019   61    APPLICATION for Admission of Jeffrey Matthew Harris Pro Hac Vice
                   (Application fee $ 150, receipt number AGANDC−8848548). Documents for
                   this entry are not available for viewing outside the courthouse.by John S.
                   Antalis, Christopher M. Carr, Gretchen Collins, Debi Dalton, E. Daniel
                   DeLoach, Charmaine Faucher, Michael Fowler, Sr, Alexander S. Gross,
                   Thomas Hardin, Jr, Meg Heap, LaSharn Hughes, Brian Kemp, Rob Law,
                   Matthew W. Norman, Andrew Reisman, David W. Retterbush, Joe Sam
                   Robinson, Barby J. Simmons, Julia Slater, Kathleen Toomey, Richard L. Weil.
                   (Pinson, Andrew) (Entered: 08/07/2019)
08/07/2019   62    APPLICATION for Admission of Patrick Strawbridge Pro Hac Vice
                   (Application fee $ 150, receipt number AGANDC−8848604). Documents for
                   this entry are not available for viewing outside the courthouse.by John S.
                   Antalis, Christopher M. Carr, Gretchen Collins, Debi Dalton, E. Daniel
                   DeLoach, Charmaine Faucher, Michael Fowler, Sr, Alexander S. Gross,
                   Thomas Hardin, Jr, Meg Heap, LaSharn Hughes, Brian Kemp, Rob Law,
                   Matthew W. Norman, Andrew Reisman, David W. Retterbush, Joe Sam
                   Robinson, Barby J. Simmons, Julia Slater, Kathleen Toomey, Richard L. Weil.
                   (Pinson, Andrew) (Entered: 08/07/2019)
08/07/2019   63    APPLICATION for Admission of Steven Christopher Begakis Pro Hac Vice
                   (Application fee $ 150, receipt number AGANDC−8848626). Documents for
                   this entry are not available for viewing outside the courthouse.by John S.
                   Antalis, Christopher M. Carr, Gretchen Collins, Debi Dalton, E. Daniel
                   DeLoach, Charmaine Faucher, Michael Fowler, Sr, Alexander S. Gross,
                   Thomas Hardin, Jr, Meg Heap, LaSharn Hughes, Brian Kemp, Rob Law,
                   Matthew W. Norman, Andrew Reisman, David W. Retterbush, Joe Sam
                   Robinson, Barby J. Simmons, Julia Slater, Kathleen Toomey, Richard L. Weil.
                   (Pinson, Andrew) (Entered: 08/07/2019)
08/12/2019         RETURN of 63 APPLICATION for Admission of Steven Christopher Begakis
                   Pro Hac Vice (Application fee $ 150, receipt number AGANDC−8848626).
                   Documents for this entry are not available for viewing outside the courthouse.
                   to attorney for correction re: courts and number. (pmb) (Entered: 08/12/2019)
08/12/2019         APPROVAL by Clerks Office re: 61 APPLICATION for Admission of Jeffrey
                   Matthew Harris Pro Hac Vice (Application fee $ 150, receipt number
                   AGANDC−8848548). Documents for this entry are not available for viewing
                   outside the courthouse.. Attorney Jeffrey Matthew Harris added appearing on
                   behalf of Christopher M. Carr, Brian Kemp (pmb) (Entered: 08/12/2019)
08/12/2019         APPROVAL by Clerks Office re: 62 APPLICATION for Admission of Patrick
                   Strawbridge Pro Hac Vice (Application fee $ 150, receipt number
                   AGANDC−8848604). Documents for this entry are not available for viewing
                   outside the courthouse.. Attorney Patrick Strawbridge added appearing on
                   behalf of Christopher M. Carr, Brian Kemp (pmb) (Entered: 08/12/2019)
08/13/2019   64    APPLICATION for Admission of Steven Christopher Begakis Pro Hac Vice.
                   Documents for this entry are not available for viewing outside the
                   courthouse.by John S. Antalis, Christopher M. Carr, Gretchen Collins, Debi
                   Dalton, E. Daniel DeLoach, Charmaine Faucher, Michael Fowler, Sr,
                   Alexander S. Gross, Thomas Hardin, Jr, Meg Heap, LaSharn Hughes, Brian
                   Kemp, Rob Law, Matthew W. Norman, Andrew Reisman, David W.
                   Retterbush, Joe Sam Robinson, Barby J. Simmons, Julia Slater, Kathleen
                                                                                                    24
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                   Toomey, Richard L. Weil. (Pinson, Andrew) (Entered: 08/13/2019)
08/15/2019   65    ORDER granting 61 Application for Admission Pro Hac Vice for Petitioner
                   Jeffrey Matthew Harris. Signed by Judge Steve C. Jones on 8/15/2019. If the
                   applicant does not have CM/ECF access in the Northern District of Georgia
                   already, they must request access at http://pacer.gov. If they have electronically
                   filed in this district in a previous case, please omit this step.(rjs) (Entered:
                   08/15/2019)
08/15/2019         Clerk's Certificate of Mailing to Jeffrey Matthew Harris re 65 Order on
                   Application for Admission PHV. (rjs) (Entered: 08/15/2019)
08/15/2019   66    ORDER granting 62 Application for Admission Pro Hac Vice for Petitioner
                   Patrick Strawbridge. Signed by Judge Steve C. Jones on 8/15/2019. If the
                   applicant does not have CM/ECF access in the Northern District of Georgia
                   already, they must request access at http://pacer.gov. If they have electronically
                   filed in this district in a previous case, please omit this step.(rjs) (Entered:
                   08/15/2019)
08/15/2019         Clerk's Certificate of Mailing to Patrick Strawbridge re 66 Order on
                   Application for Admission PHV. (rjs) (Entered: 08/15/2019)
08/15/2019   67    NOTICE of Appearance by Linda Ann Klein on behalf of Paul L. Howard, Jr
                   (Klein, Linda) (Entered: 08/15/2019)
08/15/2019   68    Unopposed MOTION for Extension of Time to File Answer by Paul L.
                   Howard, Jr. (Attachments: # 1 Text of Proposed Order)(Klein, Linda) (Entered:
                   08/15/2019)
08/16/2019   69    NOTICE of Appearance by Steven G. Hall on behalf of Paul L. Howard, Jr
                   (Hall, Steven) (Entered: 08/16/2019)
08/16/2019   70    NOTICE of Appearance by Sarah Margaret Carrier on behalf of Paul L.
                   Howard, Jr (Carrier, Sarah) (Entered: 08/16/2019)
08/16/2019   71    RESPONSE in Opposition re 24 MOTION for Preliminary Injunction filed by
                   Sherry Boston. (Bauer, S.) (Entered: 08/16/2019)
08/16/2019   72    NOTICE of Appearance by Ian Kyle Byrnside on behalf of Sherry Boston
                   (Byrnside, Ian) (Entered: 08/16/2019)
08/19/2019   73    ANSWER to 1 COMPLAINT by John S. Antalis, Christopher M. Carr,
                   Gretchen Collins, Debi Dalton, E. Daniel DeLoach, Charmaine Faucher,
                   Michael Fowler, Sr, Alexander S. Gross, Thomas Hardin, Jr, Meg Heap,
                   LaSharn Hughes, Brian Kemp, Rob Law, Matthew W. Norman, Danny Porter,
                   Andrew Reisman, David W. Retterbush, Joe Sam Robinson, Barby J.
                   Simmons, Julia Slater, Kathleen Toomey, Richard L. Weil. Discovery ends on
                   1/16/2020.(Pinson, Andrew) Please visit our website at
                   http://www.gand.uscourts.gov to obtain Pretrial Instructions. (Entered:
                   08/19/2019)
08/19/2019   74    RESPONSE in Opposition re 24 MOTION for Preliminary Injunction filed by
                   John S. Antalis, Christopher M. Carr, Gretchen Collins, Debi Dalton, E. Daniel
                   DeLoach, Charmaine Faucher, Michael Fowler, Sr, Alexander S. Gross,
                   Thomas Hardin, Jr, Meg Heap, LaSharn Hughes, Brian Kemp, Rob Law,
                   Matthew W. Norman, Danny Porter, Andrew Reisman, David W. Retterbush,

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                   Joe Sam Robinson, Barby J. Simmons, Julia Slater, Kathleen Toomey, Richard
                   L. Weil. (Pinson, Andrew) (Entered: 08/19/2019)
08/19/2019         APPROVAL by Clerks Office re: 64 APPLICATION for Admission of Steven
                   Christopher Begakis Pro Hac Vice. Documents for this entry are not available
                   for viewing outside the courthouse.. Attorney Steven Christopher Begakis
                   added appearing on behalf of Christopher M. Carr, Brian Kemp (pmb)
                   (Entered: 08/19/2019)
08/19/2019   75    RESPONSE re 24 MOTION for Preliminary Injunction filed by Paul L.
                   Howard, Jr. (Klein, Linda) (Entered: 08/19/2019)
08/19/2019   76    NOTICE of Appearance by Joe Dally Whitley on behalf of Paul L. Howard, Jr
                   (Whitley, Joe) (Entered: 08/19/2019)
08/20/2019   77    ORDER granting 68 Motion for Extension of Time to Answer. The time for
                   Defendant Howard to file a responsive pleading to Plaintiffs' Complaint is
                   extended to and including September 30, 2019. Signed by Judge Steve C. Jones
                   on 8/20/2019. (rjs) (Entered: 08/20/2019)
08/20/2019   78    NOTICE of Appearance by Jacqueline Tandy Menk on behalf of Sherry
                   Boston (Menk, Jacqueline) (Entered: 08/20/2019)
08/22/2019   79    Unopposed MOTION for Extension of Time to File Reply in Supp. of Pls.'
                   Mot. for Prelim. Inj. re: 24 MOTION for Preliminary Injunction by Atlanta
                   Comprehensive Wellness Clinic, Atlanta Women's Medical Center, Columbus
                   Women's Health Organization, P.C., Carrie Cwiak, FemHealth USA, Feminist
                   Women's Health Center, Lisa Haddad, Eva Lathrop, Planned Parenthood
                   Southeast, Inc., SisterSong Women of Color Reproductive Justice Collective,
                   Summit Medical Associates, P.C.. (Attachments: # 1 Text of Proposed
                   Order)(Young, Sean) (Entered: 08/22/2019)
08/22/2019   80    ORDER granting 79 Motion for Extension of Time. The deadline for Plaintiffs
                   to file a Reply in Support of Plaintiffs' Motion for a Preliminary Injunction
                   shall be extended to September 13, 2019. Signed by Judge Steve C. Jones on
                   8/22/2019. (rjs) (Entered: 08/23/2019)
08/28/2019   81    NOTICE by Joyette Holmes of Automatic Substitution of a Party (Pinson,
                   Andrew) (Entered: 08/28/2019)
08/28/2019   82    Unopposed MOTION to Join Answer and Response to Preliminary Injunction
                   by Joyette Holmes. (Attachments: # 1 Text of Proposed Order Proposed Order
                   re: Motion to Join Answer and Response to Preliminary Injunction)(Pinson,
                   Andrew) (Entered: 08/28/2019)
08/28/2019   83    ORDER granting 82 Motion. Defendant Joyette M. Holmes is substituted for
                   Defendant John Melvin as a party to this action. Defendant Holmes will be
                   joined as a signatory to Defendants' Answer, ECF No. 73, and Response to
                   Plaintiffs' Motion for Preliminary Injunction, ECF No. 74. Signed by Judge
                   Steve C. Jones on 8/28/2019. (rjs) (Entered: 08/28/2019)
08/30/2019   84    Mail sent to Patrick Strawbridge re 66 Order on Application for Admission
                   PHV Mail Returned as Undeliverable. (rjs) (Entered: 09/03/2019)
09/05/2019   85    COURT'S NOTICE Of Filing INSTRUCTIONS FOR CASES ASSIGNED TO
                   THE HONORABLE STEVE C. JONES.(pdw) (Entered: 09/05/2019)

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09/05/2019   86    ORDER granting 64 Application for Admission Pro Hac Vice for Steven
                   Christopher Begakis. Signed by Judge Steve C. Jones on 9/5/2019. If the
                   applicant does not have CM/ECF access in the Northern District of Georgia
                   already, they must request access at http://pacer.gov. If they have electronically
                   filed in this district in a previous case, please omit this step.(rjs) (Entered:
                   09/05/2019)
09/05/2019         Clerk's Certificate of Mailing to Steven Christopher Begakis re 86 Order on
                   Application for Admission PHV. (rjs) (Entered: 09/05/2019)
09/13/2019   87    REPLY BRIEF re 24 MOTION for Preliminary Injunction in Response to
                   Defendants' (other than Howard and Boston) Opposition filed by Atlanta
                   Comprehensive Wellness Clinic, Atlanta Women's Medical Center, Columbus
                   Women's Health Organization, P.C., Carrie Cwiak, FemHealth USA, Feminist
                   Women's Health Center, Lisa Haddad, Eva Lathrop, Planned Parenthood
                   Southeast, Inc., SisterSong Women of Color Reproductive Justice Collective,
                   Summit Medical Associates, P.C.. (Young, Sean) (Entered: 09/13/2019)
09/13/2019   88    REPLY BRIEF re 24 MOTION for Preliminary Injunction in Response to
                   Defendant Boston's Opposition filed by Atlanta Comprehensive Wellness
                   Clinic, Atlanta Women's Medical Center, Columbus Women's Health
                   Organization, P.C., Carrie Cwiak, FemHealth USA, Feminist Women's Health
                   Center, Lisa Haddad, Eva Lathrop, Planned Parenthood Southeast, Inc.,
                   SisterSong Women of Color Reproductive Justice Collective, Summit Medical
                   Associates, P.C.. (Young, Sean) (Entered: 09/13/2019)
09/13/2019   89    Notice of Withdrawal (construed by the Clerk as a) MOTION to Withdraw
                   Rebecca Ann Chan as Attorney. (rjs) (Entered: 09/13/2019)
09/18/2019         Submission of 24 MOTION for Preliminary Injunction to District Judge Steve
                   C. Jones. (rjs) (Entered: 09/18/2019)
09/18/2019   90    JOINT PRELIMINARY REPORT AND DISCOVERY PLAN filed by Atlanta
                   Comprehensive Wellness Clinic, Atlanta Women's Medical Center, Columbus
                   Women's Health Organization, P.C., Carrie Cwiak, FemHealth USA, Feminist
                   Women's Health Center, Lisa Haddad, Eva Lathrop, Planned Parenthood
                   Southeast, Inc., SisterSong Women of Color Reproductive Justice Collective,
                   Summit Medical Associates, P.C.. (Young, Sean) (Entered: 09/18/2019)
09/23/2019   91    Minute Entry for proceedings held before Judge Steve C. Jones: Hearing held
                   on Plaintiffs' Motion for Preliminary Injunction 24 . The Court heard oral
                   argument from counsel and took the matter under advisement, with ruling to
                   follow in due course. 24 Motion for Preliminary Injunction− TAKEN UNDER
                   ADVISEMENT. (Court Reporter Andy Ashley)(rjs) (Entered: 09/23/2019)
09/23/2019   92    ORDER: IT IS ORDERED that a transcript of the hearing on Plaintiffs' Motion
                   for Preliminary Injunction 24 held before the undersigned on September 23,
                   2019 be prepared for this Court's consideration. The cost of said transcript shall
                   be divided equally between the first−named Plaintiff and first−named
                   Defendant. Signed by Judge Steve C. Jones on 9/23/2019. (rjs) (Entered:
                   09/23/2019)
09/23/2019   93    Initial Disclosures by Paul L. Howard, Jr.(Hall, Steven) (Entered: 09/23/2019)
09/27/2019   94

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                   SCHEDULING ORDER: re: 90 Joint Preliminary Report and Discovery Plan.
                   The parties are assigned to a four−month discovery track. Discovery ends on
                   January 18, 2020. Pursuant to Local Rules 7.2 and 16.4, any motions for
                   summary judgment or the proposed consolidated pretrial order must be filed
                   within thirty days of the close of discovery. If a motion for summary judgment
                   is filed, the proposed consolidated pretrial order must be filed within thirty
                   days after this Court's ruling thereon. If neither motion(s) for summary
                   judgment nor the proposed pretrial order are timely filed, the Clerk is directed
                   to submit this matter for the Court for consideration. Signed by Judge Steve C.
                   Jones on 9/27/2019. (rjs) (Entered: 09/27/2019)
09/30/2019    95   MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM and Lack of
                   Subject Matter Jurisdiction with Brief In Support by Sherry Boston.
                   (Attachments: # 1 Brief)(Bauer, S.) Modified on 10/1/2019 (rjs). (Entered:
                   09/30/2019)
09/30/2019    96   ANSWER to 1 COMPLAINT with Jury Demand by Paul L. Howard, Jr.(Hall,
                   Steven) Please visit our website at http://www.gand.uscourts.gov to obtain
                   Pretrial Instructions. (Entered: 09/30/2019)
10/01/2019    97   ORDER: The Court determines that Plaintiffs have met their burden for the
                   issuance of a preliminary injunction. Therefore, the Court GRANTS Plaintiffs'
                   Motion for a Preliminary Injunction. Doc. No. 24 . The Court ORDERS that
                   Defendants, and all their respective officers, successors in office, agents,
                   servants, employees, attorneys, and persons acting in concert or participation
                   with them, are PRELIMINARILY ENJOINED from enforcing H.B. 481
                   (Georgia General Assembly 201920 Legislative Session). This preliminary
                   injunction remains in effect until further order from this Court. As a result, the
                   State of Georgia's abortion laws that were in effect prior to the passage of H.B.
                   481 remain in effect. Consistent with the foregoing reasons and in the absence
                   of a request from Defendants, the Court, in the exercise of its discretion,
                   waives the bond requirement set forth in Federal Rule of Civil Procedure 65(c).
                   Signed by Judge Steve C. Jones on 10/1/2019. (rjs) (Entered: 10/01/2019)
10/10/2019    98   RESPONSE in Opposition re 95 MOTION TO DISMISS FOR FAILURE TO
                   STATE A CLAIM filed by Atlanta Comprehensive Wellness Clinic, Atlanta
                   Women's Medical Center, Columbus Women's Health Organization, P.C.,
                   Carrie Cwiak, FemHealth USA, Feminist Women's Health Center, Lisa
                   Haddad, Eva Lathrop, Planned Parenthood Southeast, Inc., SisterSong Women
                   of Color Reproductive Justice Collective, Summit Medical Associates, P.C..
                   (Young, Sean) (Entered: 10/10/2019)
10/22/2019    99   TRANSCRIPT of the Motion for Preliminary Injunction Hearing Proceedings
                   held on September 23, 2019, before Judge Steve. Court Reporter/Transcriber
                   Andy Ashley. A full directory of court reporters and their contact information
                   can be found at www.gand.uscourts.gov/directory−court−reporters. Transcript
                   may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction.
                   After that date it may be obtained through PACER. Redaction Request due
                   11/12/2019. Redacted Transcript Deadline set for 11/22/2019. Release of
                   Transcript Restriction set for 1/21/2020. (Attachments: # 1 Notice of Filing of
                   Official Transcript) (kac) (Entered: 10/23/2019)
10/24/2019   100
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                   REPLY BRIEF re 95 MOTION TO DISMISS FOR FAILURE TO STATE A
                   CLAIM filed by Sherry Boston. (Bauer, S.) (Entered: 10/24/2019)
10/24/2019   101   ORDER denying 95 Motion to Dismiss for Failure to State a Claim. In finding
                   that Plaintiffs have sufficiently alleged an "actual controversy" between
                   themselves and Defendant Boston, Defendant Boston's Motion to Dismiss for
                   failure to state claim under the Declaratory Judgment Act is denied. Signed by
                   Judge Steve C. Jones on 10/24/2019. (jed) (Entered: 10/24/2019)
10/25/2019   102   Initial Disclosures by Atlanta Comprehensive Wellness Clinic, Atlanta
                   Women's Medical Center, Columbus Women's Health Organization, P.C.,
                   Carrie Cwiak, FemHealth USA, Feminist Women's Health Center, Lisa
                   Haddad, Eva Lathrop, Planned Parenthood Southeast, Inc., SisterSong Women
                   of Color Reproductive Justice Collective, Summit Medical Associates,
                   P.C..(Young, Sean) (Entered: 10/25/2019)
10/28/2019         DOCKET ORDER granting as unopposed 89 Motion to Withdraw as Attorney
                   by Rebecca Ann Chan for Plaintiffs SisterSong, ACWC, A WMC, carafem,
                   Summit, and Drs. Cwiak, Haddad and Lathrop. Entered by Judge Steve C.
                   Jones on 10/28/2019. (pdw) (Entered: 10/28/2019)
10/28/2019   103   CERTIFICATE OF SERVICE of Defendant Sherry Boston's Initial
                   Disclosures by Sherry Boston.(Byrnside, Ian) (Entered: 10/28/2019)
10/29/2019   104   MOTION for Discovery : to limit discovery and for expedited consideration by
                   Atlanta Comprehensive Wellness Clinic, Atlanta Women's Medical Center,
                   Columbus Women's Health Organization, P.C., Carrie Cwiak, FemHealth
                   USA, Feminist Women's Health Center, Lisa Haddad, Eva Lathrop, Planned
                   Parenthood Southeast, Inc., SisterSong Women of Color Reproductive Justice
                   Collective, Summit Medical Associates, P.C.. (Young, Sean) (Entered:
                   10/29/2019)
11/05/2019   105   ORDER: Plaintiffs' request for expedited consideration of their discovery
                   motion at Doc. No. 104 is DENIED. Plaintiffs' request for a stay of the
                   discovery period while the Court decides their motion at Doc. No. 104 is also
                   DENIED. Response and reply briefs shall be due in accordance with the time
                   limits provided by this Court's Local Rules. A substantive ruling on the motion
                   will follow at the conclusion of the briefing period. Signed by Judge Steve C.
                   Jones on 11/5/2019. (rjs) (Entered: 11/05/2019)
11/06/2019   106   ANSWER to 1 COMPLAINT by Sherry Boston.(Byrnside, Ian) Please visit
                   our website at http://www.gand.uscourts.gov to obtain Pretrial Instructions.
                   (Entered: 11/06/2019)
11/12/2019   107   RESPONSE in Opposition re 104 MOTION for Discovery : to limit discovery
                   and for expedited consideration filed by John S. Antalis, Christopher M. Carr,
                   Gretchen Collins, Debi Dalton, E. Daniel DeLoach, Charmaine Faucher,
                   Michael Fowler, Sr, Alexander S. Gross, Thomas Hardin, Jr, Meg Heap,
                   Joyette M. Holmes, LaSharn Hughes, Brian Kemp, Rob Law, Matthew W.
                   Norman, Danny Porter, Andrew Reisman, David W. Retterbush, Joe Sam
                   Robinson, Barby J. Simmons, Julia Slater, Kathleen Toomey, Richard L. Weil.
                   (Harris, Jeffrey) (Entered: 11/12/2019)
11/12/2019   108   RESPONSE re 104 MOTION for Discovery : to limit discovery and for
                   expedited consideration filed by Paul L. Howard, Jr. (Hall, Steven) (Entered:

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                   11/12/2019)
11/13/2019   109   CERTIFICATE OF SERVICE by John S. Antalis, Christopher M. Carr,
                   Gretchen Collins, Debi Dalton, E. Daniel DeLoach, Charmaine Faucher,
                   Michael Fowler, Sr, Alexander S. Gross, Thomas Hardin, Jr, Meg Heap,
                   Joyette M. Holmes, LaSharn Hughes, Brian Kemp, Rob Law, Matthew W.
                   Norman, Danny Porter, Andrew Reisman, David W. Retterbush, Joe Sam
                   Robinson, Barby J. Simmons, Julia Slater, Kathleen Toomey, Richard L.
                   Weil.(Harris, Jeffrey) (Entered: 11/13/2019)
11/22/2019   110   NOTICE OF APPEAL as to 101 Order on Motion to Dismiss for Failure to
                   State a Claim, by Sherry Boston. Filing fee $ 505, receipt number
                   AGANDC−9120576. Transcript Order Form due on 12/6/2019 (Bauer, S.)
                   (Entered: 11/22/2019)
11/25/2019   111   CERTIFICATE OF SERVICE by John S. Antalis, Christopher M. Carr,
                   Gretchen Collins, Debi Dalton, E. Daniel DeLoach, Charmaine Faucher,
                   Michael Fowler, Sr, Alexander S. Gross, Thomas Hardin, Jr, Meg Heap,
                   Joyette M. Holmes, LaSharn Hughes, Brian Kemp, Rob Law, Matthew W.
                   Norman, Danny Porter, Andrew Reisman, David W. Retterbush, Joe Sam
                   Robinson, Barby J. Simmons, Julia Slater, Kathleen Toomey, Richard L.
                   Weil.(Harris, Jeffrey) (Entered: 11/25/2019)
11/26/2019   112   USCA Appeal Transmission Letter to 11th Circuit re: 110 Notice of Appeal
                   filed by Sherry Boston. (kac) (Additional attachment(s) added on 11/26/2019: #
                   1 Corrected USCA Transmission Letter) (kac). (Entered: 11/26/2019)
11/26/2019         Transmission of Certified Copy of Notice of Appeal, Order and Docket Sheet
                   to US Court of Appeals re: 110 Notice of Appeal. (kac) (Entered: 11/26/2019)
11/26/2019         Notification of Docket Correction re: 112 USCA Appeal Transmission. (kac)
                   (Entered: 11/26/2019)
11/26/2019   113   REPLY BRIEF re 104 MOTION for Discovery : to limit discovery and for
                   expedited consideration filed by Atlanta Comprehensive Wellness Clinic,
                   Atlanta Women's Medical Center, Columbus Women's Health Organization,
                   P.C., Carrie Cwiak, FemHealth USA, Feminist Women's Health Center, Lisa
                   Haddad, Eva Lathrop, Planned Parenthood Southeast, Inc., SisterSong Women
                   of Color Reproductive Justice Collective, Summit Medical Associates, P.C..
                   (Attachments: # 1 Exhibit A − Def. Curlin expert report, # 2 Exhibit B − Def.
                   Skop expert report)(Young, Sean) (Entered: 11/26/2019)
12/02/2019   114   USCA Acknowledgment of 110 Notice of Appeal filed by Sherry Boston. Case
                   Appealed to USCA − 11th Circuit. USCA Case Number 19−14726−DD. (kac)
                   (Entered: 12/02/2019)
12/02/2019         Submission of 104 MOTION for Discovery to District Judge Steve C. Jones.
                   (rjs) (Entered: 12/02/2019)
12/04/2019   115   ORDER granting 104 Plaintiffs' Motion to Limit Discovery. Signed by Judge
                   Steve C. Jones on 12/3/2019. (rjs) (Entered: 12/04/2019)
12/06/2019   116   USCA Clerk's Entry of Dismissal for want of prosecution re: 110 Notice of
                   Appeal. Case Appealed to USCA − 11th Circuit. USCA Case Number
                   19−14726−DD. (kac) (Entered: 12/06/2019)

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12/13/2019   117   CERTIFICATE OF SERVICE of Plaintiffs Objections and Responses to
                   Defendants Interrogatories and Requests for Admission by Atlanta
                   Comprehensive Wellness Clinic, Atlanta Women's Medical Center, Columbus
                   Women's Health Organization, P.C., Carrie Cwiak, FemHealth USA, Feminist
                   Women's Health Center, Lisa Haddad, Eva Lathrop, Planned Parenthood
                   Southeast, Inc., SisterSong Women of Color Reproductive Justice Collective,
                   Summit Medical Associates, P.C..(Young, Sean) (Entered: 12/13/2019)
12/18/2019   118   CERTIFICATE OF SERVICE of Pls.' First Set of RFA's, Interrogatories, and
                   RFP's to All Defs. by Atlanta Comprehensive Wellness Clinic, Atlanta
                   Women's Medical Center, Columbus Women's Health Organization, P.C.,
                   Carrie Cwiak, FemHealth USA, Feminist Women's Health Center, Lisa
                   Haddad, Eva Lathrop, Planned Parenthood Southeast, Inc., SisterSong Women
                   of Color Reproductive Justice Collective, Summit Medical Associates,
                   P.C..(Young, Sean) (Entered: 12/18/2019)
01/17/2020   119   CERTIFICATE OF SERVICE of Defendant Sherry Boston's Objections and
                   Responses to Plaintiffs' First Set of Discovery Requests Addressed to all
                   Defendants by Sherry Boston.(Bauer, S.) (Entered: 01/17/2020)
01/17/2020   120   CERTIFICATE OF SERVICE OF DISCOVERY by Paul L. Howard, Jr.(Hall,
                   Steven) (Entered: 01/17/2020)
01/17/2020   121   CERTIFICATE OF SERVICE State Defendants Objections and Responses to
                   Plaintiffs First Set of Requests for Admissions, Interrogatories, and Requests
                   for Production by Christopher M. Carr, Meg Heap, Joyette M. Holmes,
                   LaSharn Hughes, Brian Kemp, Danny Porter, Julia Slater, Kathleen
                   Toomey.(Harris, Jeffrey) (Entered: 01/17/2020)
01/21/2020   122   ORDER: The parties are reminded that any motions for summary judgment or
                   the proposed consolidated pretrial order must be filed on or before February 20,
                   2020. If a motion for summary judgment is filed, the proposed consolidated
                   pretrial order must be filed within thirty days after this Court's ruling thereon.
                   If neither motion(s) for summary judgment nor the proposed pretrial order are
                   timely filed, the Clerk is DIRECTED to submit this matter to the Court for
                   consideration. Signed by Judge Steve C. Jones on 1/21/2020. (rjs) (Entered:
                   01/21/2020)
02/16/2020   123   NOTICE of Appearance by Erin Marie Morrissey Victoria on behalf of Sherry
                   Boston (Morrissey Victoria, Erin) (Entered: 02/16/2020)
02/20/2020   124   MOTION for Summary Judgment with Brief In Support by Atlanta
                   Comprehensive Wellness Clinic, Atlanta Women's Medical Center, Columbus
                   Women's Health Organization, P.C., Carrie Cwiak, FemHealth USA, Feminist
                   Women's Health Center, Lisa Haddad, Eva Lathrop, Planned Parenthood
                   Southeast, Inc., SisterSong Women of Color Reproductive Justice Collective,
                   Summit Medical Associates, P.C.. (Attachments: # 1 Brief, # 2 Statement of
                   Material Facts, # 3 Exhibit 1, # 4 Exhibit 2, # 5 Text of Proposed
                   Order)(Young, Sean) −−Please refer to http://www.gand.uscourts.gov to obtain
                   the Notice to Respond to Summary Judgment Motion form contained on the
                   Court's website.−− (Entered: 02/20/2020)
02/20/2020   125   MOTION for Summary Judgment with Brief In Support by John S. Antalis,
                   Christopher M. Carr, Gretchen Collins, Debi Dalton, E. Daniel DeLoach,
                   Charmaine Faucher, Michael Fowler, Sr, Alexander S. Gross, Thomas Hardin,
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                   Jr, Meg Heap, Joyette M. Holmes, Paul L. Howard, Jr, LaSharn Hughes, Brian
                   Kemp, Rob Law, Matthew W. Norman, Danny Porter, Andrew Reisman,
                   David W. Retterbush, Joe Sam Robinson, Barby J. Simmons, Julia Slater,
                   Kathleen Toomey, Richard L. Weil. (Attachments: # 1 Brief, # 2 Statement of
                   Material Facts, # 3 Text of Proposed Order)(Harris, Jeffrey) −−Please refer to
                   http://www.gand.uscourts.gov to obtain the Notice to Respond to Summary
                   Judgment Motion form contained on the Court's website.−− (Entered:
                   02/20/2020)
02/21/2020         NOTICE of Hearing on Motion re: 124 Plaintiffs' MOTION for Summary
                   Judgment and 125 Defendants' MOTION for Summary Judgment . Motion
                   Hearing set for 5/1/2020 at 10:00 AM in ATLA Courtroom 1907 before Judge
                   Steve C. Jones. Each side will be apportioned one hour for oral argument.(pdw)
                   (Entered: 02/21/2020)
03/12/2020   126   RESPONSE re 125 MOTION for Summary Judgment , 124 MOTION for
                   Summary Judgment filed by Paul L. Howard, Jr. (Hall, Steven) (Entered:
                   03/12/2020)
03/12/2020   127   RESPONSE in Opposition re 125 MOTION for Summary Judgment filed by
                   Atlanta Comprehensive Wellness Clinic, Atlanta Women's Medical Center,
                   Columbus Women's Health Organization, P.C., Carrie Cwiak, FemHealth
                   USA, Feminist Women's Health Center, Lisa Haddad, Eva Lathrop, Planned
                   Parenthood Southeast, Inc., SisterSong Women of Color Reproductive Justice
                   Collective, Summit Medical Associates, P.C.. (Attachments: # 1 Response to
                   Defs.' Stmt of Undisputed Facts and Pls.' Stmt. of Add'l Undisputed Material
                   Facts, # 2 Exhibit 1)(Young, Sean) (Entered: 03/12/2020)
03/12/2020   128   RESPONSE in Opposition re 124 MOTION for Summary Judgment filed by
                   Sherry Boston. (Attachments: # 1 Exhibit Declaration of Sherry Boston, # 2
                   Response to Plaintiffs' Statement of Material Facts)(Bauer, S.) (Entered:
                   03/12/2020)
03/12/2020   129   RESPONSE in Opposition re 124 MOTION for Summary Judgment filed by
                   John S. Antalis, Christopher M. Carr, Gretchen Collins, Debi Dalton, E. Daniel
                   DeLoach, Charmaine Faucher, Michael Fowler, Sr, Alexander S. Gross,
                   Thomas Hardin, Jr, Meg Heap, Joyette M. Holmes, Paul L. Howard, Jr,
                   LaSharn Hughes, Brian Kemp, Rob Law, Matthew W. Norman, Danny Porter,
                   Andrew Reisman, David W. Retterbush, Joe Sam Robinson, Barby J.
                   Simmons, Julia Slater, Kathleen Toomey, Richard L. Weil. (Attachments: # 1
                   Statement of Material Facts Response to plaintiffs' SMF)(Harris, Jeffrey)
                   (Entered: 03/12/2020)
03/13/2020   130   Unopposed MOTION for Extension of Time File Reply in Support of Motion
                   for Summary Judgment with Brief In Support by John S. Antalis, Christopher
                   M. Carr, Gretchen Collins, Debi Dalton, E. Daniel DeLoach, Charmaine
                   Faucher, Michael Fowler, Sr, Alexander S. Gross, Thomas Hardin, Jr, Meg
                   Heap, Joyette M. Holmes, LaSharn Hughes, Brian Kemp, Rob Law, Matthew
                   W. Norman, Danny Porter, Andrew Reisman, David W. Retterbush, Joe Sam
                   Robinson, Barby J. Simmons, Julia Slater, Kathleen Toomey, Richard L. Weil.
                   (Attachments: # 1 Text of Proposed Order)(Harris, Jeffrey) (Entered:
                   03/13/2020)
03/16/2020   131

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                   ORDER granting 130 Motion for Extension of Time. The deadline for all
                   parties to file replies in support of summary judgment is extended until April 9,
                   2020. Signed by Judge Steve C. Jones on 3/16/2020. (rjs) (Entered:
                   03/16/2020)
03/23/2020   132   General Order 20−01 re: COURT OPERATIONS UNDER THE EXIGENT
                   CIRCUMSTANCES CREATED BY COVID−19 AND RELATED CORONA
                   VIRUS. Signed by Judge Thomas W. Thrash, Jr. on 3/16/2020. (rjs) (Entered:
                   03/23/2020)
04/02/2020   133   Amended General Order 20−01 re COURT OPERATIONS UNDER THE
                   EXIGENT CIRCUMSTANCES CREATED BY COVID−19 AND RELATED
                   CORONA VIRUS. Signed by Judge Thomas W. Thrash, Jr. on 3/30/20. (aaq)
                   (ADI) (Entered: 04/02/2020)
04/09/2020   134   ORDER: In light of the guidance issued by public health authorities regarding
                   the COVID−19 pandemic, the hearing on Plaintiffs' Motion for Summary
                   Judgment (Doc. No. 124 ) and Defendants' Motion for Summary Judgment
                   (Doc. No. 125 ) is RESET for Monday, June 15, 2020 at 10:00 a.m. in
                   Courtroom 1907. Signed by Judge Steve C. Jones on 4/9/2020. (rjs) (Entered:
                   04/09/2020)
04/09/2020   135   REPLY BRIEF re 124 MOTION for Summary Judgment filed by Atlanta
                   Comprehensive Wellness Clinic, Atlanta Women's Medical Center, Columbus
                   Women's Health Organization, P.C., Carrie Cwiak, FemHealth USA, Feminist
                   Women's Health Center, Lisa Haddad, Eva Lathrop, Planned Parenthood
                   Southeast, Inc., SisterSong Women of Color Reproductive Justice Collective,
                   Summit Medical Associates, P.C.. (Young, Sean) (Entered: 04/09/2020)
04/09/2020   136   REPLY BRIEF re 125 MOTION for Summary Judgment re Defendant Sherry
                   Boston filed by Atlanta Comprehensive Wellness Clinic, Atlanta Women's
                   Medical Center, Columbus Women's Health Organization, P.C., Carrie Cwiak,
                   FemHealth USA, Feminist Women's Health Center, Lisa Haddad, Eva Lathrop,
                   Planned Parenthood Southeast, Inc., SisterSong Women of Color Reproductive
                   Justice Collective, Summit Medical Associates, P.C.. (Young, Sean) (Entered:
                   04/09/2020)
04/09/2020   137   REPLY to Response to Motion re 125 MOTION for Summary Judgment filed
                   by John S. Antalis, Christopher M. Carr, Gretchen Collins, Debi Dalton, E.
                   Daniel DeLoach, Charmaine Faucher, Michael Fowler, Sr, Alexander S. Gross,
                   Thomas Hardin, Jr, Meg Heap, Joyette M. Holmes, LaSharn Hughes, Brian
                   Kemp, Rob Law, Matthew W. Norman, Danny Porter, Andrew Reisman,
                   David W. Retterbush, Joe Sam Robinson, Barby J. Simmons, Julia Slater,
                   Kathleen Toomey, Richard L. Weil. (Attachments: # 1 Statement of Material
                   Facts Response to additional SMF)(Harris, Jeffrey) (Entered: 04/09/2020)
04/13/2020         Submission of 124 MOTION for Summary Judgment and 125 MOTION for
                   Summary Judgment to District Judge Steve C. Jones. (rjs) (Entered:
                   04/13/2020)
05/04/2020   138   SECOND AMENDMENT TO GENERAL ORDER 20−01 RE: COURT
                   OPERATIONS UNDER THE EXIGENT CIRCUMSTANCES CREATED BY
                   COVID−19 AND RELATED CORONA VIRUS. Signed by Judge Thomas W.
                   Thrash, Jr. on 04/30/2020. (adg) (ADI) (Entered: 05/04/2020)

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05/18/2020   139   Certification of Consent to Substitution of Counsel. Sean Young replacing
                   attorney Susan Talcott Camp. (Young, Sean) (Entered: 05/18/2020)
05/27/2020   140   THIRD AMENDMENT TO GENERAL ORDER 20−01 RE: COURT
                   OPERATIONS UNDER THE EXIGENT CIRCUMSTANCES CREATED BY
                   COVID−19 AND RELATED CORONA VIRUS. Signed by Judge Thomas W.
                   Thrash, Jr. on 05/26/2020. (ddm) (ADI) (Entered: 05/27/2020)
06/04/2020   141   APPLICATION for Admission of Brigitte Amiri Pro Hac Vice (Application
                   fee $ 150, receipt number AGANDC−9765225).by Atlanta Comprehensive
                   Wellness Clinic, Atlanta Women's Medical Center, Carrie Cwiak, FemHealth
                   USA, Lisa Haddad, Eva Lathrop, SisterSong Women of Color Reproductive
                   Justice Collective. (Young, Sean) Documents for this entry are not available for
                   viewing outside the courthouse. (Entered: 06/04/2020)
06/08/2020         NOTICE OF VIDEO PROCEEDING re: Hearing on the parties' motions for
                   summary judgment 124 and 125 . Motion Hearing set for 6/15/2020 at 10:00
                   AM before Judge Steve C. Jones. The Court directs the parties to file any
                   exhibits they intend to introduce during the hearing on the docket using
                   CM/ECF's "Notice" function by noon on Friday, June 12, 2020. Any exhibits
                   should be marked and numbered before filing. Participants must name/rename
                   their Zoom profile to reflect their full name for purposes of identification. The
                   hearing will be locked to new participants at 10:10 AM. Connection
                   Instructions: Jun 15, 2020 10:00 AM Eastern Time (US and Canada) Join
                   ZoomGov Meeting https://ganduscourts.zoomgov.com/j/1614442571 Meeting
                   ID: 161 444 2571 Password: 047900 One tap mobile
                   +16692545252,,1614442571#,,1#,047900# US (San Jose)
                   +16468287666,,1614442571#,,1#,047900# US (New York) Dial by your
                   location +1 669 254 5252 US (San Jose) +1 646 828 7666 US (New York)
                   Meeting ID: 161 444 2571 Password: 047900 Find your local number:
                   https://ganduscourts.zoomgov.com/u/aeGm9rI667 Join by SIP
                   1614442571@sip.zoomgov.com Join by H.323 161.199.138.10 (US West)
                   161.199.136.10 (US East) Meeting ID: 161 444 2571 Password: 047900 You
                   must follow the instructions of the Court for remote proceedings available here.
                   Photographing, recording, or broadcasting of any judicial proceedings,
                   including proceedings held by video teleconferencing or telephone
                   conferencing, is strictly and absolutely prohibited. (pdw) (Entered:
                   06/08/2020)
06/09/2020         APPROVAL by Clerks Office re: 141 APPLICATION for Admission of
                   Brigitte Amiri Pro Hac Vice (Application fee $ 150, receipt number
                   AGANDC−9765225).. Attorney Brigitte Amiri added appearing on behalf of
                   SisterSong Women of Color Reproductive Justice Collective (cdg) (Entered:
                   06/09/2020)
06/09/2020   142   ORDER granting 141 Application for Admission of Brigitte Amiri Pro Hac
                   Vice. Signed by Judge Steve C. Jones on 6/9/2020. If the applicant does not
                   have CM/ECF access in the Northern District of Georgia already, they must
                   request access at http://pacer.gov. If they have electronically filed in this
                   district in a previous case, please omit this step.(tcc) (Entered: 06/09/2020)
06/15/2020   143   Minute Entry for proceedings held before Judge Steve C. Jones: Oral argument
                   heard on Parties' motions for summary judgment. Matter taken under
                   advisement by the Court, with written ruling to follow in due course. 124
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                   Motion for Summary Judgment TAKEN UNDER ADVISEMENT 125 Motion
                   for Summary Judgment TAKEN UNDER ADVISEMENT (Court Reporter
                   David Ritchie)(rjs) (Entered: 06/17/2020)
07/01/2020   144   NOTICE Of Filing Supplemental Authority by Atlanta Comprehensive
                   Wellness Clinic, Atlanta Women's Medical Center, Columbus Women's Health
                   Organization, P.C., Carrie Cwiak, FemHealth USA, Feminist Women's Health
                   Center, Lisa Haddad, Eva Lathrop, Planned Parenthood Southeast, Inc.,
                   SisterSong Women of Color Reproductive Justice Collective, Summit Medical
                   Associates, P.C. (Watson, Elizabeth) (Entered: 07/01/2020)
07/02/2020   145   FOURTH AMENDMENT TO GENERAL ORDER 20−01 RE: COURT
                   OPERATIONS UNDER THE EXIGENT CIRCUMSTANCES CREATED BY
                   COVID−19 AND RELATED CORONA VIRUS. Signed by Judge Thomas W.
                   Thrash, Jr. on 07/01/2020. (rvb) (ADI) (Entered: 07/02/2020)
07/02/2020   146   NOTICE by John S. Antalis, Christopher M. Carr, Gretchen Collins, Debi
                   Dalton, E. Daniel DeLoach, Charmaine Faucher, Michael Fowler, Sr,
                   Alexander S. Gross, Thomas Hardin, Jr, Meg Heap, Joyette M. Holmes,
                   LaSharn Hughes, Brian Kemp, Rob Law, Matthew W. Norman, Danny Porter,
                   Andrew Reisman, David W. Retterbush, Joe Sam Robinson, Barby J.
                   Simmons, Julia Slater, Kathleen Toomey, Richard L. Weil (Attachments: # 1
                   Exhibit)(Harris, Jeffrey) (Entered: 07/02/2020)
07/02/2020   147   TRANSCRIPT of the Video−Conference Hearing Proceedings held on June
                   15, 2020, before Judge Steve C. Jones. Court Reporter/Transcriber David A.
                   Ritchie. A full directory of court reporters and their contact information can be
                   found at www.gand.uscourts.gov/directory−court−reporters. Transcript may be
                   viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction.
                   After that date it may be obtained through PACER. Redaction Request due
                   7/23/2020. Redacted Transcript Deadline set for 8/3/2020. Release of
                   Transcript Restriction set for 9/30/2020. (Attachments: # 1 Notice of Filing of
                   Official Transcript) (kac) (Entered: 07/02/2020)
07/13/2020   148   FIFTH AMENDMENT TO GENERAL ORDER 20−01 RE: COURT
                   OPERATIONS UNDER THE EXIGENT CIRCUMSTANCES CREATED BY
                   COVID−19 AND RELATED CORONAVIRUS. Signed by Judge Thomas W.
                   Thrash, Jr. on 7/10/2020 (adg) (ADI) (Entered: 07/13/2020)
07/13/2020   149   ORDER: The Court finds that Plaintiffs are entitled to judgment as a matter of
                   law on Counts I and II of their 1 Verified Complaint for Declaratory and
                   Injunctive Relief. Plaintiffs' 124 Motion for Summary Judgment is
                   GRANTED. The State Defendants' 125 Motion for Summary Judgment and/or
                   Partial Summary Judgment is DENIED. The Court thus declares the rights of
                   the parties as follows: Sections 3 and 4 of H.B. 481 violate the Fourteenth
                   Amendment of the United States Constitution. The Court ORDERS that all
                   Defendants, and all their respective officers, successors in office, agents,
                   servants, employees, attorneys, and persons acting in concert or participation
                   with them, are PERMANENTLY ENJOINED from enforcing H.B. 481
                   (Georgia General Assembly 2019−20 Legislative Session) in its entirety. As a
                   result, the State of Georgia's abortion laws that were in effect prior to the
                   passage of H.B. 481 remain in effect. As there are no further issues
                   outstanding, the Clerk is DIRECTED to enter judgment in favor of Plaintiffs
                                                                                                       35
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                   and CLOSE THIS CASE. Signed by Judge Steve C. Jones on 7/13/2020. (rjs)
                   (Entered: 07/13/2020)
07/13/2020   150   CLERK'S JUDGMENT. (rjs)−−Please refer to http://www.ca11.uscourts.gov
                   to obtain an appeals jurisdiction checklist−− (Entered: 07/13/2020)
07/13/2020         Civil Case Terminated. (rjs) (Entered: 07/13/2020)
07/22/2020   151   MOTION for Extension of Time to File for Attorneys Fees and Costs by
                   Atlanta Comprehensive Wellness Clinic, Atlanta Women's Medical Center,
                   Columbus Women's Health Organization, P.C., Carrie Cwiak, FemHealth
                   USA, Feminist Women's Health Center, Lisa Haddad, Eva Lathrop, Planned
                   Parenthood Southeast, Inc., SisterSong Women of Color Reproductive Justice
                   Collective, Summit Medical Associates, P.C.. (Attachments: # 1 Text of
                   Proposed Order)(Watson, Elizabeth) Modified on 7/23/2020 (rjs). (Entered:
                   07/22/2020)
07/24/2020   152   ORDER granting 151 Motion for Extension of Time. Plaintiffs shall have until
                   60 days after either the conclusion of all substantive appeals and/or the time to
                   file a petition for a writ of certiorari on the merits of this case expires to file
                   any motion for attorneys' fees and costs. Signed by Judge Steve C. Jones on
                   7/24/2020. (rjs) (Entered: 07/24/2020)
08/11/2020   153   NOTICE OF APPEAL as to 149 Order on Motion for Summary
                   Judgment,,,,,,,,, 150 Clerk's Judgment by John S. Antalis, Christopher M. Carr,
                   Gretchen Collins, Debi Dalton, E. Daniel DeLoach, Charmaine Faucher,
                   Michael Fowler, Sr, Alexander S. Gross, Thomas Hardin, Jr, Meg Heap,
                   LaSharn Hughes, Brian Kemp, Rob Law, Matthew W. Norman, Danny Porter,
                   Andrew Reisman, David W. Retterbush, Joe Sam Robinson, Barby J.
                   Simmons, Julia Slater, Kathleen Toomey, Richard L. Weil. Filing fee $ 505,
                   receipt number AGANDC−10016222. Transcript Order Form due on
                   8/25/2020 (Pinson, Andrew) (Entered: 08/11/2020)
08/11/2020   154   USCA Appeal Transmission Letter to 11th Circuit re: 153 Notice of Appeal
                   filed by Thomas Hardin, Jr., Matthew W. Norman, Brian Kemp, Rob Law,
                   John S. Antalis, Debi Dalton, Richard L. Weil, Barby J. Simmons, Meg Heap,
                   Danny Porter, Kathleen Toomey, David W. Retterbush, Charmaine Faucher, E.
                   Daniel DeLoach, Andrew Reisman, Christopher M. Carr, Gretchen Collins,
                   Michael Fowler, Sr., Julia Slater, Joe Sam Robinson, LaSharn Hughes,
                   Alexander S. Gross. (kac) (Entered: 08/11/2020)




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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


SISTERSONG WOMEN OF COLOR
REPRODUCTIVE JUSTICE
COLLECTIVE, on behalf of itself
and its members, et al.,

     Plaintiffs,
                                                   CIVIL ACTION FILE
v.                                                 No. 1:19-cv-02973-SCJ

BRIAN KEMP, Governor of the State
of Georgia, in his official capacity,
et al.,

     Defendants.



                                     ORDER

        This matter concerns the constitutionality of Georgia House Bill 481

(“H.B. 481”), also known as the Living Infants Fairness and Equality (“LIFE”)

Act. H.B. 481 § 1, 155th Gen. Assemb., Reg. Sess. (Ga. 2019). H.B. 481, in relevant

part, prohibits abortions after the detection of a fetal heartbeat. Id. § 4. H.B. 481

also recognizes unborn children as “natural persons” and further defines an

“unborn child” as an embryo/fetus “at any stage of development who is

carried in the womb.” Id. § 3.
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        On June 28, 2019, Plaintiffs filed a Verified Complaint for Declaratory

and Injunctive Relief against all Defendants 1 pursuant to 42 U.S.C. § 1983,

wherein they challenge the constitutionality of H.B. 481. Doc. No. [1]. Plaintiffs

assert two claims against Defendants: (1) a violation of the Substantive Due

Process right to privacy and liberty under the Fourteenth Amendment to the

United States Constitution (Count I); and (2) a violation of Due Process under

the Fourteenth Amendment to the United States Constitution (Count II). Id.

        Before the Court now are the parties’ cross motions for summary

judgment.2 Plaintiffs move for summary judgment on both claims, requesting

that the Court declare H.B. 481 unconstitutional and permanently enjoin all

Defendants and their successors in office from enforcing it. Doc. No. [124]. The

State Defendants also move for summary judgment on both claims, asserting

that Plaintiffs have failed to establish standing to bring this suit. Doc. No. [125].

The State Defendants alternatively move for partial summary judgment on

Count II of the Complaint and on the ground that the provisions of H.B. 481



1Defendants are composed of: (1) Paul L. Howard, Jr., in his official capacity as
District Attorney for Fulton County; (2) Sherry Boston, in her official capacity as
District Attorney of the Stone Mountain Judicial Circuit; and (3) the State Defendants.
2   Defendants Howard and Boston did not file summary judgment motions.

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not specifically found unconstitutional are severable. Id. Both motions have

been fully briefed by the parties.3 Doc. Nos. [127]; [129]; [135]; [137]. After due

consideration, and with the benefit of oral argument,4 the Court rules as follows.

    I.   BACKGROUND

         Before proceeding to the merits of the parties’ summary judgment

motions, the Court finds that an overview of the current state of abortion law,

based on United States Supreme Court precedent, the undisputed material

facts, and the procedural history of this case is warranted.

         A.   Abortion Law

         The hallmark of the Supreme Court’s abortion jurisprudence is Roe v.

Wade, 410 U.S. 113, 153–54 (1973), wherein the Court held that the Due Process

Clause of the Fourteenth Amendment provides a fundamental constitutional

right of access to abortions. Specifically, the Court found that the constitutional

right of privacy, “founded in the Fourteenth Amendment’s concept of personal

liberty and restrictions upon state action,” is “broad enough to encompass a



3Defendant Howard does not oppose Plaintiffs’ motion. Doc. No. [126]. Defendant
Boston filed her own response in opposition to Plaintiffs’ motion, to which Plaintiffs
replied. Doc. Nos. [128]; [136].
4The Court conducted an evidentiary hearing on the parties’ motions on June 15, 2020.
Doc. No. [143].
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woman’s decision whether or not to terminate her pregnancy.” Id. at 153. Yet

the Court also made clear that this right is “not absolute” and thus must be

considered against important “state interests as to protection of health, medical

standards, and prenatal life.” Id. at 154–55.

      Nearly twenty years later, the Supreme Court upheld the core ruling in

Roe by reaffirming “the right of the woman to choose to have an abortion before

viability and to obtain it without undue influence from the State.” Planned

Parenthood of Se. Pa. v. Casey, 505 U.S. 833, 846 (1992) (plurality opinion). In

doing so, however, the Court recognized that state interests in both a woman’s

health and fetal life are present and “substantial” from the outset of pregnancy.

Id. at 846, 873. Because of this, the Court held that “[o]nly where state

regulation imposes an undue burden on a woman’s ability to [choose to

terminate or continue her pregnancy before viability] does the power of the

State reach into the heart of the liberty protected by the Due Process Clause.”

Id. at 874; see also id. at 878 (“An undue burden exists, and therefore a

provision of law is invalid, if its purpose or effect is to place a substantial

obstacle in the path of a woman seeking an abortion before the fetus attains

viability.”). Thus, in order “to protect the central right recognized by [Roe]

while at the same time accommodating the State’s profound interest in
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potential life,” it is the “undue burden” analysis—and not the trimester

framework previously established in Roe—that must be employed. Id. at 878.

      The Supreme Court in Casey nevertheless left the essential holding of

Roe untouched, stating that “[t]he woman’s right to terminate her pregnancy

before viability is the most central principle of [Roe]. It is a rule of law and a

component of liberty we cannot renounce.” Id. at 871. While acknowledging

that advances in neonatal care and maternal care have moved viability to an

earlier point, the Court dismissed such factual divergences as having “no

bearing on the validity of Roe’s central holding,” which is that:

             viability marks the earliest point at which the State’s
             interest in fetal life is constitutionally adequate to
             justify a legislative ban on nontherapeutic abortions.
             The soundness or unsoundness of that constitutional
             judgment in no sense turns on whether viability
             occurs at approximately 28 weeks, as was usual at the
             time of Roe, at 23 or 24 weeks, as it sometimes does
             today, or at some moment even slightly earlier in the
             pregnancy, as it may if fetal respiratory capacity can
             somehow be enhanced in the future. Whenever it may
             occur, the attainment of viability may continue to
             serve as the critical fact, just as it has done since Roe
             was decided; which is to say that no change in Roe’s
             factual underpinning has left its central holding
             obsolete, and none supports an argument for
             overruling it.




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Id. at 860; see also id. at 846 (“Before viability, the State’s interests are not strong

enough to support a prohibition of abortion or the imposition of a substantial

obstacle to the woman’s effective right to elect the procedure.”); see also

Gonzales v. Carhart, 550 U.S. 124, 146 (2007) (“Before viability, a State ‘may not

prohibit any woman from making the ultimate decision to terminate her

pregnancy.’”) (quoting Casey, 505 U.S. at 879).

       This core holding—established in Roe and reaffirmed in Casey and its

progeny—is binding upon this Court. See Johnson v. DeSoto Cty. Bd. of

Comm’rs, 72 F.3d 1556, 1559 n.2 (11th Cir. 1996) (“The binding precedent rule

affords a [district] court no . . . discretion where a higher court has already

decided the issue before it.”).

       B.     Statement of Material Facts

       Turning now to the facts of this case, the Court makes the following

findings of fact for the purpose of resolving the cross motions for summary

judgment. In doing so, the Court derives the facts from the admitted

portions of the parties’ statements of material facts and the Court’s own review

of the record. Doc. Nos. [124-2] (Plaintiffs’ Statement of Material Facts)

(“PSOMF”); [125-2] (The State Defendants’ Statement of Material Facts)

(“DSOMF”); [127-1] (Plaintiffs’ Additional Facts) (“PAF”). The Court also
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derives the facts from the parties’ joint stipulations.5 Doc. Nos. [124-3]; [125-2]

(“Stip”).

       The Court resolved the parties’ objections to each other’s facts as it

reviewed the record. If a party admitted a fact in part, the Court includes the

substance of the undisputed part. If a party denied a fact in whole or in part,

the Court reviewed the record to determine if a dispute exists and if it is

material. The Court excludes facts, or parts of facts, that are legal conclusions,

immaterial, inadmissible at trial, or not supported by citation to record

evidence. See LR 56.1(B)(2)(a)(2), NDGa. With that in mind, the undisputed

material facts for the purposes of summary judgment are as follows.

             1.     Facts about Abortion in the U.S. and Georgia

       A recent study found that approximately one in four women in this

country will have an abortion by age forty-five. PSOMF, ¶ 18; Stip. #1 (citing

Rachel K. Jones & Jenna Jerman, Population Group Abortion Rates & Lifetime

Incidence of Abortion: United States, 2008–2014, 107 Am. J. Pub. Health 1904




5 The Court acknowledges Defendant Boston’s repeated objections to the parties’
stipulations on the grounds that it was never presented to her for her
consideration and that she never agreed to the statements contained therein. See, e.g.,
Doc. No. [128-2], ¶ 18. The Court nevertheless overrules her objections on those
grounds.
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(2017)). Other research has found that a majority of women having abortions

(61%) already have at least one child, while most (66%) also plan to have a child

or additional children in the future. PSOMF, ¶ 19; Stip. #1 (citing News Release,

Guttmacher Inst., Concern for Current and Future Children a Key Reason Women

Have    Abortions    (Jan.   7,   2008),       https://www.guttmacher.org/news-

release/2008/concern-current-and-future-children-key-reason-women-have-

abortions; Nat’l Abortion Fed’n, Abortion Facts: Women Who Have Abortions (last

updated     2003),     https://prochoice.org/education-and-advocacy/about-

abortion/abortion-facts/). In Georgia, there were more than 33,800 abortions

performed in 2018. PSOMF, ¶ 20.

       Almost uniformly, clinicians measure pregnancy from the first day of a

patient’s last menstrual period (“lmp”). PSOMF, ¶ 21; Stip. #2. Clinicians also

generally date a pregnancy (i.e., indicate how far along a pregnancy has

advanced) with the weeks before the decimal point and the days after: “6.2

weeks lmp” means six weeks and two days lmp. Id. A full-term pregnancy is

approximately forty weeks lmp. Id. In 2018, approximately 87% of induced

abortions in Georgia took place at or after six completed weeks of pregnancy

measured from the first day of the patient’s last menstrual period (based on

clinical estimate), that is, at or after 6.0 weeks lmp. PSOMF, ¶ 22; Stip. #5.
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In 2018, approximately 61% of induced abortions in Georgia took place at or

after seven completed weeks of pregnancy measured from the first day of the

patient’s last menstrual period (based on clinical estimate), that is, at or after

7.0 weeks lmp. Id.

      Some patients have fairly regular, four-week menstrual cycles; other

patients have regular cycles of different lengths; and still others have irregular

cycles. PSOMF, ¶ 23; Stip. #3. In a person with regular four-week cycles,

fertilization typically occurs two weeks after the start of that person’s last

menstrual period. Id. A woman with a highly regular, four-week cycle would

be four weeks lmp when she misses her period. PSOMF, ¶ 24; Stip. #3.

      In a typical developing embryo, cells that eventually form the basis for

development of the heart later in pregnancy produce cardiac activity that is

generally detectable via vaginal ultrasound early in pregnancy. PSOMF, ¶ 25;

Stip. #4. Plaintiffs’ position is that cardiac activity is generally detectable at 6.0

weeks lmp, and may be detectable a few days earlier. PSOMF, ¶ 26; Stip. #4.

The State Defendants’ position is that cardiac activity is detectable by

approximately 6-7 weeks lmp. Id. Regarding viability, i.e., the point at which a

healthy, singleton fetus has a reasonable likelihood of sustained survival

outside the uterus with or without artificial aid, Plaintiffs’ position is that it
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occurs at approximately 24 weeks lmp. PSOMF, ¶ 27; Stip. #6. The State

Defendants’ position is that viability occurs as early as 20 weeks lmp. Id.

      Some medical care for a pregnant patient aside from abortion and

miscarriage management can harm or end a pregnancy. PSOMF, ¶ 28; Stip. #8.

In some cases of miscarriage that occur before viability, cardiac activity persists

while the patient passes embryonic/fetal tissue, or when cervical dilation

makes pregnancy loss inevitable. PSOMF, ¶ 29; Stip. #7. In those cases, some

physicians determine that it is medically appropriate to offer the patient

treatment to empty her uterus. Id. In other cases, in which miscarriage is only

potential, physicians or patients may seek to save the pregnancy as long as

cardiac activity persists. Id. All medical care entails the risk of unintentional

harm to the patient; clinicians, including clinicians treating patients who are

pregnant, might be pregnant, or might become pregnant, accept that risk and

weigh that risk against the benefits of treatment. DSOMF, ¶ 6; Stip. #9.

             2.    Georgia Abortion Law and H.B. 481

      Prior to the passage of H.B. 481, Georgia law prohibited abortions at

twenty weeks or more “from the time of fertilization,” O.C.G.A. § 31-9B-1(5),

“unless the pregnancy [was] diagnosed as medically futile” or, in reasonable

medical judgment, an abortion was necessary to “avert the death of the
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pregnant woman or avert serious risk of substantial and irreversible physical

impairment of a major bodily function of the pregnant woman” or to

“[p]reserve the life of an unborn child.” O.C.G.A. §§ 16-12-141(c)(1)(A–B).

       The Georgia Legislature passed H.B. 481 on March 29, 2019, and the

Governor signed the bill into law on May 7, 2019. PSOMF, ¶ 1; H.B. 481 § 15.

The effective date was January 1, 2020. Id.

       H.B. 481 makes a series of amendments to Georgia abortion law.

Section 3 of H.B. 481 amends O.C.G.A. § 1-2-1, which sets forth definitions of

“Persons and their Rights” that apply throughout the Official Code of Georgia

(hereinafter, “the Code”). H.B. 481 § 3. Section 3 specifically amends the

definition of “natural person” to include “any human being including an

unborn child.” Id. § 3(b). It further defines “unborn child” as “a member of the

species Homo sapiens at any stage of development who is carried in the womb.”

Id. § 3(e)(2).

       Section 4 of H.B. 481 prohibits abortions6 once an “unborn child” has

been determined to have a “detectable human heartbeat.” Id. § 4(b). H.B. 481



6An act is not considered an “abortion,” however, if it is performed with the purpose
of removing an “ectopic pregnancy” or a “dead” fetus “caused by a spontaneous
abortion,” sometimes referred to as a miscarriage. H.B. 481 § 4(a)(1).

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thus amends O.C.G.A. § 31-9B-2(a), “relating to physician’s obligation in

performance of abortions,” to require “a determination of the presence of a

detectable human heartbeat, as such term is defined in Code Section 1-2-1.”7

Id. § 10. A violation of Section 4 is punishable by imprisonment of one to ten

years. O.C.G.A. § 16-12-140(b). A patient may also bring a civil action for a

violation of this section. H.B. 481 § 4(g). Section 4 provides affirmative defenses,

once a prosecutor proves a prima facie case of a violation of H.B. 481, if a

physician, nurse, physician assistant, or pharmacist “provide[d] care for a

pregnant woman which results in the accidental or unintentional injury or

death of an” embryo or fetus, id. §§ 4(h)(1–4), and if “[a] woman sought an

abortion because she reasonably believed that an abortion was the only way to

prevent a medical emergency.” Id. § 4(h)(5).

       Sections 7, 8, 9, and 11 of H.B. 481 amend Georgia’s informed consent

and abortion reporting statutes to mandate that the information the patient

receives twenty-four hours before an abortion includes “the presence of . . .



7 Section 4 contains three exceptions, permitting otherwise banned abortions where:
(1) a physician determines, in reasonable medical judgment, that a “medical
emergency” exists; (2) the pregnancy is at or below twenty weeks post-fertilization
and is the result of rape or incest in which an official police report has been filed
alleging the offense of rape or incest; or (3) the physician determines, in reasonable
medical judgment, that the pregnancy is “medically futile.” H.B. 481 §§ 4(b)(1–3).
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detectable” fetal cardiac activity, id. § 7, to mandate that the Department of

Public Health materials available to abortion patients refer to detectable cardiac

activity, id. § 8, and to reflect the ban on abortion where there is detectable fetal

cardiac activity. Id. § 11. Section 5 of H.B. 481 requires the father of an “unborn

child,” as defined under Section 3 of H.B. 481, to pay child support for the

“direct medical and pregnancy related expenses of the mother of the unborn

child.” Id. § 5. Section 6 of H.B. 481 sets monetary damages “[f]or the homicide

of an unborn child.” Id. § 6. Finally, Section 12 of H.B. 481 allows a family to

claim a personal tax exemption for an unborn child. Id. § 12.

       C.    Procedural History

       Plaintiffs are composed of SisterSong Women of Color Reproductive

Justice Collective, seven reproductive health care clinics,8 and three individual

physicians.9 PSOMF, ¶¶ 2–4. Plaintiff SisterSong is a non-profit organization

whose members include Georgians who can become pregnant and need the




8These clinics are Feminist Women’s Health Canter; Planned Parenthood Southeast,
Inc.; Atlanta Comprehensive Wellness Clinic; Atlanta Women’s Medical Center;
FemHealth USA d/b/a carafem; Columbus Women’s Health Organization, P.C.; and
Summit Medical Associates, P.C. PSOMF, ¶ 3.
9These physicians are Carrie Cwiak, M.D., M.P.H.; Lisa Haddad, M.D., M.S., M.P.H.;
and Eva Lathrop, M.D., M.P.H. PSOMF, ¶ 4.
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freedom to make their own health care decisions, including the decision to end

a pregnancy. Id. ¶ 2. Plaintiff SisterSong works to build an effective network of

individuals and organizations addressing institutional policies, systems, and

cultural practices that limit the reproductive lives of marginalized

people. Id. “Plaintiff Providers,” i.e., the named-clinics and physicians, provide

reproductive health care services to patients in Georgia, including abortion

services. Id. ¶¶ 3–4.

      Prior to H.B. 481’s effective date, Plaintiffs filed their Complaint against

all Defendants on June 28, 2019. Doc. No. [1]. Thereafter, Plaintiffs moved to

preliminarily enjoin the enforcement of H.B. 481 on July 23, 2019. Doc. No. [24].

Following an evidentiary hearing, the Court granted Plaintiffs’ motion on

October 1, 2019. Doc. No. [97].

      The Court subsequently placed this case on a four-month discovery track.

Doc. Nos. [94]; [97], p. 46. On December 4, 2019, the Court granted Plaintiffs’

motion to preclude discovery on the State’s interest underlying H.B. 481.

Doc. No. [115]. In doing so, the Court emphasized that “[t]he Supreme Court

has repeatedly and unequivocally held that under no circumstances

whatsoever may a state prohibit or ban abortions prior to viability, no matter

what interests the state asserts to support it.” Id. at pp. 2–3. The Court thus
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found that “discovery, including expert discovery, regarding the state’s

interests underlying H.B. 481 should be precluded.” Id. at p. 5. In light of this

order, the parties entered into a series of stipulations, as referenced supra, and

agreed to forego expert reports and disclosures. Doc. Nos. [124-3]; [125-2].

       On February 20, 2020, the parties filed their cross motions for summary

judgment. Doc. Nos. [124]; [125]. Plaintiffs move for summary judgment on

both claims. Doc. No. [124]. They first assert that Section 4 of H.B. 481, which

prohibits abortions upon the detection of a fetal heartbeat, directly conflicts

with binding Supreme Court precedent and thus violates their right to privacy

and liberty secured by the Fourteenth Amendment. Doc. No. [124-1], p. 11.

They further assert that Section 3 of H.B. 481, which amends the definition

“natural person” to include an “unborn child,” is unconstitutionally vague in

that it is unclear if or how the definition amends other provisions of the Code.

Id. at p. 14. Plaintiffs argue that they are therefore entitled to judgment as a

matter of law and move the Court to permanently enjoin the enforcement of

H.B. 481 in its entirety. Id. at p. 21.

       The State Defendants also move for summary judgment on both claims,

asserting that Plaintiffs have failed to establish standing to bring this suit.

Doc. No. [125-1], p. 15. They alternatively move for partial summary judgment
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on Plaintiffs’ vagueness claim, and on the ground that all provisions of H.B. 481

not specifically found unconstitutional are severable. Id. at pp. 22, 28.

II.   DISCUSSION

      A.     Preliminary Matters

      Before analyzing the merits of the parties’ summary judgment motions,

the Court must first address the arguments made by Defendant Boston in her

response to Plaintiffs’ motion. Doc. No. [128]. Therein, Defendant Boston

argues that Plaintiffs’ motion should be denied as to her for two reasons:

(1) “because the undisputed evidence shows that Plaintiffs do not have

standing to bring their claims against her” and, (2) “even if they did, she is

entitled to immunity from those claims under the Eleventh Amendment to the

United States Constitution.” Id. at p. 2. The Court addresses each of these

arguments in turn.

             1.      Standing

      A plaintiff “c[an] bring a pre-enforcement suit when he ‘has alleged an

intention to engage in a course of conduct arguably affected with a

constitutional interest, but proscribed by a statute, and there exists a credible

threat of prosecution.’” Wollschlaeger v. Governor, Fla., 848 F.3d 1293, 1304

(11th Cir. 2017) (quoting Susan B. Anthony List v. Dreihaus, 573 U.S. 149, 159
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(2014)). “[P]ersons having no fears of state prosecution except those that are

imaginary or speculative, are not to be accepted as appropriate plaintiffs in

such cases.” Younger v. Harris, 401 U.S. 37, 42 (1971). When plaintiffs “do not

claim that they have ever been threatened with prosecution, that a prosecution

is likely, or even that a prosecution is remotely possible,” they do not allege a

dispute susceptible to resolution by a federal court. Id. Still, the Eleventh

Circuit has noted that the “credible threat of prosecution” standard is “quite

forgiving.” Wilson v. State Bar of Ga., 132 F.3d 1422, 1428 (11th Cir. 1998)

(citation omitted).

        Defendant Boston argues Plaintiffs have offered “no evidence showing

that they fear being prosecuted by D.A. Boston under H.B. 481 or that D.A.

Boston will, intends to, or even might in the future prosecute them under H.B.

481, much less that they face a ‘credible threat of prosecution’” by her office.

Doc. No. [128], p. 3. Because “the undisputed evidence of record shows that

D.A. Boston has at all times vowed not to enforce H.B. 481,” she argues,

“Plaintiffs face no threat of prosecution from D.A. Boston.” Id. 10 “In the



10Defendant Boston seems to assume that her prosecutorial discretion is so broad as
to allow her to refuse to enforce, in any circumstances, a duly enacted state criminal
statute. Because it finds the threat of prosecution is credible regardless, the Court need

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exceedingly unlikely event that D.A. Boston or her successor ever seeks to

enforce H.B. 481 against any of the Plaintiffs, or gives them any reason to

believe she might do so,” she argues the issue would then be ripe for this Court

to consider. Id. at p. 11. But, “on the current record,” she maintains, “Plaintiffs

have not asserted a claim against D.A. Boston that this Court can properly

adjudicate.” Id.

      Plaintiffs argue they do face a credible threat of prosecution because

“[each Plaintiff] ‘has alleged an intention to engage in a course of conduct

arguably affected with a constitutional interest, but proscribed by a statute.’”

Doc. No. [136], p. 2 (quoting Wollschlaeger, 848 F.3d at 1304) (quoting Driehaus,

573 U.S. at 159)). They maintain that, although Defendant Boston has attached

an affidavit swearing she will not enforce H.B. 481, see Doc. No. [128-1], “that

affidavit is irrelevant because it is not binding even on Defendant, let alone on

her successors.” Id. at p. 3.

      Defendant Boston’s argument rests primarily upon the fact that she has

repeatedly stated she believes H.B. 481 to be unconstitutional, and has no

intention of enforcing it. But again, the Eleventh Circuit has recognized that



not address the accuracy of this assumption.
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“[m]id-litigation assurances are all too easy to make and all too hard to enforce,”

which is why “the Supreme Court has refused to accept them.” W. Ala.

Women’s Ctr. v. Williamson, 900 F.3d 1310, 1328 (11th Cir. 2018) (citing

Stenberg v. Carhart, 530 U.S. 914, 940 (2000)). As this Court stated in its

Preliminary Injunction Order:

             In Stenberg, the Supreme Court declined to defer to
             the Nebraska Attorney General’s statements that he
             would “narrowly” interpret a state abortion statute.
             530 U.S. at 940. This was because “precedent warns
             against accepting as ‘authoritative’ an Attorney
             General’s interpretation of state law” when that
             interpretation is not binding on state courts or law
             enforcement officials. Id. See also Crandon v. U.S., 494
             U.S. 152, 177 (1990) (Scalia, J., concurring in judgment)
             (“[W]e have never thought that the interpretation of
             those charged with prosecuting criminal statutes is
             entitled to deference.”). Similarly, in Williamson, the
             Eleventh Circuit declined to defer to Alabama’s non-
             binding assurances that it would permit broad
             application of a health exception in the state’s
             abortion law. 900 F.3d at 1328.

Doc. No. [97], pp. 19–20. While Defendant Boston is a District Attorney and not

the Attorney General or the State, Stenberg and Williamson are analogous.

      Defendant Boston cites Summit Medical Associates, P.C. v. Pryor,

180 F.3d 1326 (11th Cir. 1999) to support her argument that standing cannot lie

where a prosecutor has no intention of enforcing the challenged statute.


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However, the relevant portion of that case dealt with the question of whether

prosecution need be imminent, not merely threatened, to be credible. Id. at 1338.

There, no prosecutions had yet been initiated, nor had plaintiffs been directly

threatened with prosecution. Id. at 1339. But as the Eleventh Circuit noted, it

would be impossible, “as a practical matter, [for] a potential plaintiff . . . to

predict when prosecution is indeed ‘imminent.’” Id. Thus, it held an

“imminence requirement would essentially render Ex parte Young a nullity,

leaving plaintiffs with only the most narrow window in which to initiate suit

in federal court.” Id. at 1338 (noting that, “under the abstention doctrine of

Younger v. Harris, 401 U.S. 37 (1971), once a state prosecution is pending, a

criminal defendant is barred from challenging the constitutionality of a state

law in federal court except under very limited circumstances”).

      It is true that, while no actual prosecutions had been brought, the

appellants in Summit stated an “intention to prosecute violators of both

[challenged] statutes, at least in cases where the fetus is viable.” Id. at 1339.

Defendant Boston argues this stated intention was central to the Eleventh

Circuit’s holding. Doc. No. [128], p. 9. The Court disagrees. While a stated

intention to prosecute is certainly evidence that the threat prosecution is credible,

this Court does not read Summit to hold that it is necessary to confer standing.
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In fact, the Eleventh Circuit explicitly noted that, although the Attorney

General in Summit had issued an enforcement directive not to prosecute pre-

viability partial birth abortions, “the Attorney General could withdraw the

enforcement directive and prosecute partial-birth abortions pre-viability”

under the challenged statute. Id.

        The same is true here—Defendant Boston is free to change her mind at

any time. 11 Plaintiffs state that they provide and will continue to provide

treatment and services which will “undisputedly be criminal under H.B. 481.”

Doc. No. [88], p. 3. They have therefore alleged “an intention to engage in a

course of conduct arguably affected with a constitutional interest” which is

“’proscribed by [the] statute’ they wish to challenge.” Driehaus, 573 U.S. 149

at 162–63 (quoting Babbitt v. United Farm Workers Nat. Union, 442 U.S. 289,

298 (1979)). Because Defendant Boston’s mid-litigation assurances are binding

on neither her nor her eventual successors, Plaintiffs have standing against her.




11 And, as Plaintiffs note, Defendant Boston concedes her successors “may or may not
share her views on H.B. 481.” Doc. No. [95-1], p. 13. “Crimes committed while Boston
is in office can still be prosecuted by her successor within any applicable statute of
limitations.” Doc. No. [136], p. 3 n.2.
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             2.     Eleventh Amendment Immunity

      Additionally, Defendant Boston argues that Plaintiffs cannot overcome

her established right, as a state official, to immunity under the Eleventh

Amendment. Doc. No. [128], p. 8. She further contends that the injunctive relief

exception to Eleventh Amendment immunity, as first enunciated in Ex parte

Young, 209 U.S. 123 (1908), does not apply because there is no evidence that she

has enforced or even threatened to enforce H.B. 481 against Plaintiffs. Id.

      “The Eleventh Amendment prohibits a federal court from exercising

jurisdiction over a lawsuit against a state [and its officers], except where the

state has consented to be sued or waived its immunity, or where Congress has

overridden the state’s immunity.” Cross v. Ala. State Dep’t of Mental Health &

Mental Retardation, 49 F.3d 1490, 1502 (11th Cir. 1995) (citations omitted); see

U.S. Const. amend. XI (“[t]he Judicial power of the United States shall not be

construed to extend to any suit in law or equity, commenced or prosecuted

against one of the United States by Citizens of another State . . . .”). However

“[u]nder the doctrine enunciated in Ex parte Young, 209 U.S. 123 (1908), . . . a

suit alleging a violation of the federal constitution against a state official in [her]

official capacity for injunctive relief on a prospective basis is not a suit against

the state, and, accordingly, does not violate the Eleventh Amendment.” Grizzle
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v. Kemp, 634 F.3d 1314, 1319 (11th Cir. 2011) (citations omitted); see also Alden

v. Maine, 527 U.S. 706, 756–57 (1999) (“The rule [of sovereign immunity],

however, does not bar certain actions against state officers for injunctive or

declaratory relief.”) and Will v. Michigan Dept. of State Police, 491 U.S. 58, 71

n.10 (1989) (“Of course a state official in his or her official capacity, when sued

for injunctive relief, would be a person under § 1983 because ‘official-capacity

actions for prospective relief are not treated as actions against the State.’”).

      In Summit, the state defendants asserted a similar Eleventh Amendment

immunity defense, which the district court rejected under the Ex parte Young

exception. 180 F.3d at 1333. In affirming the district court, the Eleventh Circuit

noted that the plaintiffs “unquestionably [sought] prospective relief—a

declaratory judgment that the partial-birth and post-viability abortion statutes

are unconstitutional.” Id. at 1339. The Eleventh Circuit also held that the

plaintiffs “sufficiently alleged an ongoing and continuous violation of federal

law,” even though the state defendants had not yet initiated prosecution or

specifically threatened the plaintiffs with prosecution. Id. In doing so, the

Eleventh Circuit appeared to recognize that any enforcement directive could

be withdrawn. Id.



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      Similarly, here, Plaintiffs unquestionability seek prospective relief—a

declaratory judgment that H.B. 481 is unconstitutional and a permanent

injunction against its enforcement. They also sufficiently allege an ongoing and

continuous violation of federal law. Plaintiffs’ claims against Defendant Boston

fall within the Ex parte Young exception, and Defendant Boston’s arguments to

the contrary fail.

      B.     Summary Judgment

      The filing of cross motions for summary judgment “does not give rise to

any presumption that no genuine issues of material fact exist.” 3D Medical

Imaging Systems, LLC v. Visage Imaging, Inc., 228 F. Supp. 3d 1331, 1336

(N.D. Ga. 2017). Rather, cross motions for summary judgment “must be

considered separately, as each movant bears the burden of establishing that no

genuine issue of material fact exists and that it is entitled to judgment as a

matter of law.” Id. (citing Shaw Constructors v. ICF Kaiser Eng’rs, Inc., 395 F.3d

533, 538–39 (5th Cir. 2004)). Accordingly, the Court examines the parties’

summary judgment motions separately.

             1.      Legal Standard

      Federal Rule of Civil Procedure 56(a) provides that “[t]he court shall

grant summary judgement if the movant shows that there is no genuine dispute
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as to any material act and the movant is entitled to judgment as a matter of law.”

Fed. R. Civ. P. 56(a). A factual dispute is genuine if the evidence would allow a

reasonable jury to find for the nonmoving party. Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 248 (1986). A fact is “material” if it is “a legal element of the

claim under the applicable substantive law which might affect the outcome of

the case.” Allen v. Tyson Foods, Inc., 121 F.3d 642, 646 (11th Cir. 1997).

      The moving party bears the initial burden of showing, by reference to

materials in the record, that there is no genuine dispute as to any material fact

that should be decided at trial. Hickson Corp. v. N. Crossarm Co., 357 F.3d 1256,

1260 (11th Cir. 2004) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986)).

The moving party’s burden can be discharged either by showing an absence of

evidence to support an essential element of the nonmoving party’s case or by

showing that the nonmoving party will be unable to prove their case at trial.

Celotex, 477 U.S. at 325; Fitzpatrick v. City of Atlanta, 2 F.3d 1112, 1115 (11th

Cir. 1993). In determining whether the moving party has met this burden, the

court must consider the facts in the light most favorable to the nonmoving party.

See Robinson v. Arrugueta, 415 F.3d 1252, 1257 (11th Cir. 2005).

      Once the moving party has adequately supported its motion, the non-

movant then has the burden of showing that summary judgment is improper
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by coming forward with specific facts showing a genuine dispute. Matsushita

Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). There is no

“genuine [dispute] for trial” when the record as a whole could not lead a

rational trier of fact to find for the nonmoving party. Id. All reasonable doubts,

however, are resolved in the favor of the nonmoving party. Fitzpatrick, 2 F.3d

at 1115. In addition, the court must “avoid weighing conflicting evidence or

making credibility determinations.” Stewart v. Booker T. Washington Ins.,

232 F.3d 844, 848 (11th Cir. 2000).

             2.    Plaintiffs’ Motion for Summary Judgment

      Plaintiffs move for summary judgment on both Counts I and II of the

Complaint, wherein they assert that H.B. 481 violates the Due Process Clause

of the Fourteenth Amendment because it “bans abortions at a pre-viability

point in pregnancy” and “is unconstitutionally vague.” Doc. No. [124], p. 2.

                   i.     Count I: Substantive Due Process

      In Count I of the Complaint, Plaintiffs state that “[b]y prohibiting an

individual from making the ultimate decision whether to continue or to

terminate a pregnancy prior to viability, H.B. 481 violates Georgians’ right to

privacy and liberty secured by the Fourteenth Amendment to the United States

Constitution.” Doc. No. [1], ¶ 73. Plaintiffs argue that Section 4 of H.B. 481,
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which prohibits abortions after the detection of a fetal heartbeat, constitutes a

pre-viability abortion ban and is therefore unconstitutional. Doc. No. [124-1],

p. 11. Upon further review, and in light of binding Supreme Court precedent,

this Court must agree.

      The Supreme Court has repeatedly and unequivocally held that under

no circumstances whatsoever may a state prohibit or ban abortions at any point

prior to viability. See Casey, 505 U.S. at 879 (“[A] State may not prohibit any

woman from making the ultimate decision to terminate her pregnancy before

viability.”); Roe, 410 U.S. at 153–54; see also Whole Woman’s Health v.

Hellerstedt, --- U.S. ----, 136 S. Ct. 2292, 2299 (2016); Stenberg, 530 U.S. at 921;

Gonzales, 550 U.S. at 146. Consequently, a prohibition or ban on abortion at any

point prior to viability is inherently unconstitutional—no matter what interests

a state asserts to support it. Casey, 505 U.S. at 846 (“Before viability, the State’s

interests are not strong enough to support a prohibition of abortions.”). The

constitutionality of Section 4 thus hinges on one critical finding: whether its

prohibition on abortions once an unborn child has been determined to have a

“detectable human heartbeat” constitutes a pre-viability abortion ban.

      While the parties mostly concur in their stipulations, they differ on two

crucial facts—the point at which embryonic cardiac activity can be detected via
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vaginal ultrasound, and the point at which viability occurs. Plaintiffs’ position

is that cardiac activity is generally detectable at 6 weeks lmp, and may be

detectable a few days earlier. PSOMF, ¶ 26; Stip. #4. The State Defendants’

position is that cardiac activity is detectable by approximately 6-7 weeks lmp.

Id. Regarding viability, Plaintiffs’ position is that it occurs at approximately 24

weeks lmp. PSOMF, ¶ 27; Stip. #6. The State Defendants’ position is that

viability occurs as early as 20 weeks lmp. Id. Applying Plaintiffs’ proffered

facts, Section 4 would prohibit abortions as early as 6 weeks lmp—roughly

eighteen weeks before viability occurs. Applying the State Defendants’

proffered facts, Section 4 would prohibit abortions at approximately 6-7 weeks

lmp—roughly thirteen or fourteen weeks before viability occurs. Thus, under

either party’s version of the facts, it is indisputable that Section 4 prohibits

abortions at a pre-viability point in pregnancy.

         The State Defendants do not, and cannot, refute this critical finding.

Rather, they suggest that their inability to fully develop the record and proffer

expert testimony regarding the State’s interests underlying H.B. 481 prevents

the Court from granting summary judgment in favor of Plaintiffs.12 Doc. No.



12   The State Defendants again improperly characterize Section 4 of H.B. 481 as a

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[129], p. 4. Yet as this Court explained in its December 4, 2019 Order, “any

discovery that the State Defendants seek to proffer regarding the purported

state interests underlying H.B. 481 is irrelevant under the current Supreme

Court viability framework.” Doc. No. [115], p. 3. See also MKB Mgmt. Corp. v.

Stenehjem, 795 F.3d 768, 772–73 & n.4 (8th Cir. 2015) (affirming summary

judgment permanently enjoining six-week abortion ban based on detectable

cardiac activity and holding that the district court did not err in affirming a

magistrate judge’s order limiting discovery to the issue of viability); Jackson

Women’s Health Org. v. Currier, No. 3:18-CV-00171-CWR-FKB, 2018 WL

2219089, at *1 (S.D. Miss. May 15, 2018) (limiting discovery in challenge to

fifteen-week abortion ban, holding that evidence about “any other issue” than

“whether the 15-week mark is before or after viability” was irrelevant).

Consequently, the Court concluded that Plaintiffs “should not be required to




“restriction” on pre-viability abortions. See Doc. No. [129], p. 5. As this Court
previously explained, Section 4—by altogether prohibiting a woman from
terminating her pregnancy after a fetal heartbeat is detected—constitutes a pre-
viability abortion ban as opposed to merely a “restriction” or “regulation.” Doc. No.
[97], pp. 34–35. See Isaacson v. Horne, 716 F.3d 1213, 1225 (9th Cir. 2013) (finding that
the “undue burden” analysis employed in Casey “has no place where, as here, the
state is forbidding certain women from choosing pre-viability abortions rather than
specifying the conditions under which such abortions are to be allowed.”) (emphasis
in original).
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incur the substantial costs and other burdens of the irrelevant expert discovery

the State Defendants requests.” Doc. No. [115], p. 4.

        Thus, the State Defendants’ assertion that they were somehow prevented

from developing a “complete” evidentiary record is inaccurate. Doc. No. [129],

p. 4. In fact, this Court encouraged the parties to conduct discovery by placing

this case on a four-month discovery track. See Doc. Nos. [94]; [97], p. 46. The

Court’s December 4, 2019 Order only precluded discovery regarding the State’s

interests underlying H.B. 481—which, under binding Supreme Court

precedent, is irrelevant.13 See Casey, 505 U.S. at 846. As such evidence would

be immaterial to resolving Plaintiffs’ summary judgment motion, the Court

therefore sees no need to deny Plaintiffs’ motion for this reason alone. See

Anderson, 477 U.S. at 247–48 (stating that only “genuine issues of material fact”

can defeat a motion for summary judgment) (emphasis added).




13Additionally, to the extent that the State Defendants later wished to present “state
interest” evidence to attempt to abrogate Supreme Court precedent, they have not
been prevented from doing so. As the Court previously stated, the State Defendants
can rely upon findings and determinations made by the Georgia Legislature, as
reflected in H.B. 481 or its legislative history. See MKB Mgmt. Corp. v. Burdick,
No. 1:13-CV-071, 2013 WL 6147204, at *4 (D.N.D. Nov. 15, 2013). They can also rely
upon “legislative facts,” which are “of the type that reviewing courts often rely upon
in considering whether constitutional precedents should be overturned, even when
not developed in the record.” Id.
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         Moreover, in Count I of the Complaint, Plaintiffs further state that “[b]y

redefining the meaning of natural person throughout the entire Georgia [C]ode

to include an embryo/fetus in utero at any stage of development, H.B. 481

violates Georgians’ right to privacy and liberty secured by the Fourteenth

Amendment to the United States Constitution.” Doc. No. [1], ¶ 74. Specifically,

Section 3 of H.B. 481 amends the definition of “natural person” to include “any

human being including an unborn child” and by defining “unborn child” as an

embryo/fetus “at any stage of development who is carried in the womb.” H.B.

481 § 3. Yet as Plaintiffs correctly point out, this precise definition has been

considered and rejected by the Supreme Court. Doc. No. [124-1], p. 14. In Roe,

the Court considered whether a “person,” as used in the Fourteenth

Amendment, includes an unborn child. 410 U.S. at 157. The Court found that

the Fourteenth Amendment speaks only of persons “born or naturalized in the

United States,” and that the use of the word has application only postnatally.

Id. The Court therefore concluded that the word “person” does not include the

unborn and rejected the notion that an embryo/fetus is entitled to Fourteenth

Amendment protection.14 Id. at 158.



14   Otherwise, allowing any abortion—including abortions under the three exceptions

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        In sum, the undisputed material facts in this case lead to one,

indisputable conclusion: that Section 4 of H.B. 481, by prohibiting a woman

from terminating her pregnancy upon the detection of a fetal heartbeat,

constitutes a pre-viability abortion ban. As this ban directly conflicts with

binding Supreme Court precedent (i.e., the core holdings in Roe, Casey, and

their progeny) and thereby infringes upon a woman’s constitutional right to

obtain an abortion prior to viability, the Court is left with no other choice but

to declare it unconstitutional.15 Additionally, because Section 3’s redefinition of

“natural person” to include an unborn child was explicitly considered and

rejected by the Supreme Court in Roe, it too is unconstitutional. Plaintiffs are

therefore entitled to judgment as a matter of law on Count I of the Complaint.

Doc. No. [124].




the State carves out in H.B. 481 §§ 4(b)(1–3)—would be “out of line with the
Amendment’s command.” Roe, 410 U.S. at 157 n.54.
15The Court is certainly not alone in reaching this conclusion. Other courts have
uniformly struck down similar pre-viability abortion bans. See, e.g., Jackson Women’s
Health Org. v. Dobbs, 945 F.3d 265, 276–77 (5th Cir. 2019) (striking down fifteen-week
abortion ban); Stenehjem, 795 F.3d at 727–73 (striking down six-week ban based on
detectable cardiac activity), cert. denied, 136 S. Ct. 981 (2016); Edwards v. Beck, 786
F.3d 1113, 1117–19 (8th Cir. 2015), cert. denied, 136 S. Ct. 895 (2016) (striking down
twelve-week ban based on detectable cardiac activity); Isaacson, 716 F.3d at 1227, cert.
denied, 134 S. Ct. 905 (2014) (striking down twenty-week abortion ban).
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                    ii.   Count II: Due Process/Vagueness

      The above finding that Section 3 of H.B. 481 violates Plaintiffs’

substantive due process rights under the Fourteenth Amendment is alone

sufficient to render it unconstitutional. However, the Court will also address

Plaintiffs’ procedural due process claim.

      Plaintiffs argue that Section 3 of H.B. 481 is unlawful for the additional

reason that it its new definition of “natural person” (hereinafter referred to as

the “Personhood Definition”) is unconstitutionally vague. Doc. No. [124-1],

p. 14. Count II of Plaintiffs’ Complaint states:

             It is unclear if and/or how the new definitions in
             Section 3 of H.B. 481 effectively amend other
             provisions of the Official Code of Georgia Annotated
             that include the term “person” and/or “human being.”
             These terms appear in the Code hundreds of times,
             and they are included in sections of the code that set
             forth the scope of, inter alia, criminal acts and civil
             liability. These provisions and others, as amended by
             the new definitions in Section 3 of H.B. 481, make it
             impossible for pregnant women and medical
             providers to know what actions are forbidden or
             required, and thus do not provide adequate guidance
             as to how they can comply with the law.

Doc. No. [1], ¶¶ 76–77. Plaintiffs argue that, because Section 3’s Personhood

Definition applies throughout the Code, see H.B. 481 §§ 3(b), (e)(2), the

hundreds of civil and criminal code provisions that include the term “person”

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or “human being” must be read to in utero include embryos/fetuses at any

stage of development. Doc. No. [124-1], p. 15. “Given this broad reach,” they

argue, “the Personhood Definition renders numerous criminal and civil

provisions of the Code unclear.” Id.

      The State Defendants argue that Plaintiffs “have not come close to

making the extremely difficult showing to prevail on a facial vagueness claim.”

Doc. No. [129], p. 2. They argue the “new definition of ‘natural person’

unquestionably has applications that are clear, precise, and lawful.” Id. “Under

these circumstances,” they assert, “Supreme Court and Eleventh Circuit

precedent is clear that the law cannot be facially invalidated based on mere

speculation about a handful of vague applications.” Id. Any vague applications

of the Personhood Definition, they argue, should be challenged in a series of

as-applied challenges to those specific applications.

      Due process encompasses the concepts of notice and fair warning, and at

its core is the principle “that no man shall be held criminally responsible for

conduct which he could not reasonably understand to be proscribed.”

Bankshot Billiards, Inc. v. City of Ocala, Fla., 634 F.3d 1340, 1349 (11th Cir. 2011)

(internal quotation marks omitted). The void-for-vagueness doctrine requires

that a statute define an offense with sufficient definiteness that ordinary people
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can understand what conduct is prohibited and in a manner that does not

encourage arbitrary and discriminatory enforcement. Village of Hoffman

Estates v. Flipside, 455 U.S. 489 (1982). As the Supreme Court noted in Grayned

v. City of Rockford:

            It is a basic principle of due process that an enactment
            is void for vagueness if its prohibitions are not clearly
            defined. Vague laws offend several important values.
            First, because we assume that man is free to steer
            between lawful and unlawful conduct, we insist that
            laws give the person of ordinary intelligence a
            reasonable opportunity to know what is prohibited,
            so that he may act accordingly. Vague laws may trap
            the innocent by not providing fair warning. Second, if
            arbitrary and discriminatory enforcement is to be
            prevented, laws must provide explicit standards for
            those who apply them. A vague law impermissibly
            delegates basic policy matters to policemen, judges,
            and juries for resolution on an ad hoc and subjective
            basis, with the attendant dangers of arbitrary and
            discriminatory application.

408 U.S. 104, 108–09 (1972) (internal citations omitted). Where the legislature

fails to provide such minimal guidelines to guide law enforcement, a criminal

statute may permit “policemen, prosecutors, and juries to pursue their personal

predilections.” Kolender v. Lawson, 461 U.S. 352, 358 (1983).

      First, the Court finds that Section 3’s Personhood Definition, which by its

own terms amends every appearance of the word “person” or “human being,”


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is unconstitutionally vague.16 It remains entirely unclear to this Court how the

amendments will be effectuated or enforced. To the extent Plaintiffs are forced

to hypothesize about ways in which their conduct might violate statutes

amended by the Personhood Definition, it is precisely because the Personhood

Definition puts them at the mercy of the State’s discretion, in violation of their

due process rights.

        If Section 3 is not enjoined, a pregnant woman with an eating disorder

would be guilty of child cruelty. See O.C.G.A. §§ 16-5-70 (“A parent . . . commits

the offense of cruelty to children in the first degree when such person willfully

deprives the child of necessary sustenance to the extent that the child’s health

or well-being is jeopardized.”). Health care providers would run afoul of

O.C.G.A. § 19-7-5 for failing to report a pregnant patient living with an abusive

partner. See O.C.G.A. § 19-7-5(b)(6.1), (c)(2) (making physicians licensed to

practice medicine, physician assistants, interns, or residents, and hospital or

medical personnel mandatory reporters of child abuse). The list goes on. And

these are not potential applications, as the State Defendants attempt to




16Again, this is but an additional reason why the Personhood Definition is
unconstitutional. See supra, Section II.B.2.i.
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characterize them. Doc. No. [129], p. 12. These would be lawful applications of

existing criminal statutes. The only undefined variable is prosecutorial

discretion: under which of these amended statutes will the State decide to bring

charges? Such uncertainty provides precisely the kind of opportunity for

“policemen, prosecutors, and juries to pursue their personal predilections.”

Kolender, 461 U.S. at 358.

      Second, the Court declines to require Plaintiffs to “wait and see” how

law enforcement officials will decide to enforce the Personhood Definition

throughout the Code. The State Defendants cite Indigo Room, Inc. v. City of

Fort Myers, 710 F.3d 1294, 1302 (11th Cir. 2013) to support their argument that

a single valid application of the Personhood Definition precludes facial

invalidity. However, central to that case was the recognition that the ordinance

in question, which prohibited persons under 21 from entering alcoholic

beverage establishments as defined by the ordinance, “provide[d] adequate

notice of what conduct is prohibited, and a person of common intelligence

would not need to guess at its meaning.” Id. The complete sentence, of which

the State Defendants cite only part, states that “if persons of reasonable

intelligence ‘can derive a core meaning from a statute, then the enactment may

validly be applied to conduct within that meaning and the possibility of a valid
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application necessarily precludes facial invalidity.” Id. (citation omitted)

(emphasis added). In Indigo Room, “a core meaning [could] be derived from

the Ordinance at issue—individuals under the age of 21 are not permitted in

alcoholic beverage establishments in the City of Fort Myers” and “for this

reason the statute is not facially invalid.” Id.

      Conversely, here, people of common intelligence will be forced to

guess at the core meaning of Section 3’s Personhood Definition, precisely

because it—by its own terms—applies throughout the entire Georgia Code. It

explicitly grants embryos/fetuses at any stage of development all the

protections “persons” enjoy under Georgia law. Clearly, that would render

unlawful at least some actions that are currently lawful, but even the litigants

in this case are forced to guess which. The State Defendants have been unable

to articulate what this will mean for Plaintiffs and Georgians more generally.

Given the severity of the potential penalties, the Court declines to find that

Plaintiffs must wait to be prosecuted under an individual statute by operation

of the Personhood Definition to challenge its validity.

      As a final point, the disagreement between the parties regarding the

reckless conduct statute is illustrative. Plaintiffs argue the services they provide

could be prosecuted under the reckless conduct statute, O.C.G.A. § 16-5-60,
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which makes it a criminal offense to “cause bodily harm or to endanger the

bodily safety of another person by consciously disregarding a substantial and

unjustifiable risk that [the] act or omission will cause harm or endanger the

safety of another person.” Id. They argue it remains unclear what kind of

conduct might be prosecuted for presenting a “substantial and unjustifiable

risk” of causing harm to or endangering the safety of a developing fetus. Doc.

No. [124-1], p. 18.17 The State Defendants counter that it is “inconceivable” that

“physicians offering standard medical care to pregnant women who have

fallen ill” could be charged for taking an “unjustified risk of harm” or being in

“gross deviation from the standard of care.” Doc. No. [129], p. 18.

        First, the Court reiterates its aversion to mid-litigation assurances18—the

State Defendants argue now that professionals providing pregnant patients

with medical care would never be charged with reckless conduct, but the



17“[I]t is unclear whether and when clinicians could face criminal prosecution for
providing care to a pregnant patient that could harm an embryo/fetus, regardless of
whether the patient needs the treatment to maintain her health. Comprehensive
gynecological care, including family planning, abortion, miscarriage management,
hormone therapy, and cancer screening and treatment all could harm an
embryo/fetus.” Doc. No. [124-1], p. 20.
18“Mid-litigation assurances are all too easy to make and all too hard to enforce,”
which is why “the Supreme Court has refused to accept them.” Williamson., 900 F.3d
at 1328 (citing Stenberg, 530 U.S. at 940).

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statute itself certainly does not preclude such prosecution. Second, the Court

notes that it is unclear what the governing standard of care would be. As noted

in oral argument, the existing standard of care charges medical professionals

with treating one patient—the pregnant woman. 19 Under Section 3, medical

professions would be charged with the care of two individual patients, whose

medical needs might be in direct conflict with one another—necessitating an

entirely new standard of care. That these highly sophisticated parties are

currently litigating the meaning of “unjustified risk of harm” or “gross

deviation from the standard of care” underscores that persons of common

intelligence would be forced to guess what conduct might leave them open to

criminal penalty.

        In conclusion, application of Section 3’s Personhood Definition “makes

it impossible for [P]laintiffs to do their work with ‘fair notice of conduct that is

forbidden or required,’” in violation of their procedural due process rights.

FCC v. Fox Television Stations, Inc., 567 U.S. 239, 253 (2012). Plaintiffs are




19See Hearing Transcript, Tr. 71:18–23 (“Before, a physician had one patient that they
were considering. Now they clearly have liability for two people. The State
Defendants do not dispute that. The law has been amended and . . . physicians treating
pregnant patients need to treat the embryo or fetus as a separate person.”).
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therefore entitled to judgment as a matter of law on Count II of the Complaint.

Doc. No. [124].

             3.     The State Defendants’ Motion for Summary Judgment

      The State Defendants also move for summary judgment on Counts I and

II of the Complaint, asserting that Plaintiffs have failed to establish standing to

bring this suit. Doc. No. [125-1], p. 15. They alternatively move for partial

summary judgment on Count II and on the ground that the provisions of

H.B. 481 not specifically found unconstitutional are severable from the

remainder of the statute. Id. at pp. 22, 28.

                    i.    Standing

      “Standing ‘is the threshold question in every federal case, determining

the power of the court to entertain the suit.’” CAMP Legal Def. Fund, Inc. v.

City of Atlanta, 451 F.3d 1257, 1269 (11th Cir. 2006) (quoting Warth v. Seldin,

422 U.S. 490, 499 (1975)). Article III of the United States Constitution limits the

courts to hearing actual “Cases” and “Controversies.” U.S. Const. Art. III § 2;

see also Lujan v. Defs. of Wildlife, 504 U.S. 555, 559–60 (1992). Overall, the

standing requirement arising out of Article III seeks to uphold separation-of-

powers principles and “to prevent the judicial process from being used to



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usurp the powers of the political branches.” Clapper v. Amnesty Int’l USA,

568 U.S. 398, 408 (2013).

      To establish standing, a plaintiff must show three things:

             First, the plaintiff must have suffered an “injury in
             fact”—an invasion of a legally protected interest
             which is (a) concrete and particularized, and (b)
             actual or imminent, not conjectural or hypothetical.
             Second, there must be a causal connection between
             the injury and the conduct complained of—the injury
             has to be fairly traceable to the challenged action of
             the defendant, and not the result of the independent
             action of some third party not before the court. Third,
             it must be likely, as opposed to merely speculative,
             that the injury will be redressed by a favorable
             decision.

Lujan, 504 U.S. at 560–61 (internal quotations, citations, and alterations

omitted). “The party invoking federal jurisdiction bears the burden of

establishing these elements.” Id. at 561.

      Organizations, like individuals, can also establish standing to sue. See

Arcia v. Fla. Sec’y of State, 772 F.3d 1335, 1341–42 (11th Cir. 2014) (describing

two different theories under which an organization can demonstrate

standing—associational and diversion-of-resources). To establish associational

standing, an organization must prove that is members “would otherwise have

standing to sue in their own right.” Friends of the Earth, Inc. v. Laidlaw Envtl.

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Servs. (TOC), Inc., 528 U.S. 167, 181 (2000). Under the diversion-of-resources

theory, an organization has standing to sue “when a defendant’s illegal acts

impair the organization’s ability to engage in its own projects by forcing the

organization to divert resources in response.” Arcia, 772 F.3d at 1341.

                           (a)   Plaintiff SisterSong

      The State Defendants argue that Plaintiff SisterSong has failed to

establish standing. Doc. No. [125-1], p. 15. They first contend that Plaintiff

SisterSong has failed to establish organizational standing under an

associational theory because it cannot demonstrate that its members would

otherwise have standing to sue in their own right Id. at p. 16. They further

contend that Plaintiff SisterSong has failed to establish organizational standing

under a diversion-of-resources theory because it cannot show that the State

Defendants’ “illegal acts” impaired its ability to engage in its own projects by

forcing the organization to divert resources in response. Id.

      First, the Court addresses whether Plaintiff SisterSong has organizational

standing under a diversion-of-resources theory. A plaintiff demonstrates

organizational standing under a diversion-of-resources theory by showing that

the “defendant’s illegal acts impair its ability to engage in its projects by forcing

the organization to divert resources to counteract those illegal acts.” Fla. State
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Conference of NAACP v. Browning, 522 F.3d 1153, 1165 (11th Cir. 2008). Here,

Plaintiff SisterSong states that the enforcement of H.B. 481 “would force [it] to

divert its scarce time and resources away from many other aspects to focus on

helping Georgians access abortion care out of state and otherwise adjust to H.B.

481’s sweeping impact.” PAF, ¶ 5. It further states that, “[i]n order to educate

its members and the public about H.B. 481’s new restrictions and what they can

do about it,” it has already diverted its “limited staff resources away from

managing trainings,” which are a core part of its advocacy mission and a

“significant part of its annual income.” Id. ¶¶ 5–7. Additionally, Plaintiff

SisterSong states that it had to “increase its spending on communications to

educate its members and the public about the impact of H.B. 481.” Id. ¶ 9.20

        The State Defendants respond that Plaintiff SisterSong’s diversion-of-

resources argument fails, as it is supported only by “vague responses” and

“voluntary decisions.” Doc. No. [125-1], pp. 18-19. Although Plaintiff

SisterSong provides statistics and dollar amounts of resources diverted from




20These expenditures included approximately $20,000 in 2019 in order to hire a public
relations firm in response to the influx of media inquiries regarding H.B. 481.
PAF, ¶ 9. The total amount of time spent in response to H.B. 481 encompassed 60% of
Plaintiff SisterSong’s Georgia Coordinator’s time and 40% of Plaintiff SisterSong’s
Executive Director’s time. Id. ¶¶ 10–11.
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training to public and media educational efforts, the State Defendants still

categorize its response as “vague” since it does not specify what the responses

entailed or how they differed from regular trainings. Id. at p. 18. The State

Defendants also assert that Plaintiff SisterSong’s diversion of resources was a

voluntary decision and therefore not an injury caused by H.B. 481 sufficient to

confer standing. Id. at p. 19 (citing Lujan, 504 U.S. at 561 (“[S]tanding depends

considerably upon whether the plaintiff is himself an object of the action (or

forgone action) at issue.”)). Finally, the State Defendants argue that Plaintiff

SisterSong’s diversion of resources to educate others fits within its core

activities and thus does not constitute injury adequate to establish standing. Id.

      Upon review, the Court agrees with Plaintiff SisterSong and finds that it

has organizational standing under a diversion-of-resources theory. Plaintiff

SisterSong has articulated the resources it diverted from its trainings “[i]n order

to educate its members and the public about H.B. 481’s new restrictions and

what they can do about it.” PAF, ¶ 7. Two of its high-ranking officers have also

had to dedicate significant portions of their time to responding to H.B. 481. This

demonstrates a “concrete and demonstrable injury to the organization’s

activities—with the consequent drain on the organization’s resources,” which

“constitutes far more than simply a setback to the organization’s abstract social
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interests.” Havens Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982). Whether

this diversion of resources was voluntarily incurred is irrelevant. As the

Eleventh Circuit has noted, “[c]osts unrelated to the legal challenge . . . do

qualify as an injury, whether they are voluntarily incurred or not.” Browning,

522 F.3d at 1166 (finding the defendant’s attempt to distinguish between

voluntary and mandated diversion of resources had “no support in the law,

and it misses the point”).

      Because the Court has determined that Plaintiff SisterSong has

organizational standing under a diversion-of-resources theory, it need not

address the parties’ arguments regarding associational standing.

                             (b)   Plaintiff Providers

      The State Defendants also argue that Plaintiff Providers have failed to

establish standing. Doc. No. [125-1], p. 19. Specifically, the State Defendants

contend that Plaintiff Providers “are not alleging that any of their own

constitutional rights are violated,” and that they lack third-party standing to

vicariously assert the rights of their non-party patients who seek to obtain an

abortion. Id.

      In response, Plaintiff Providers push back on the notion that they are not

asserting a violation of their own constitutional rights. Doc. No. [127], p. 3.
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Rather, they assert that H.B. 481’s vagueness violates their own due process

rights. Id.; see also Hearing Transcript, Tr. 21:17–23. Plaintiff Providers state

that H.B. 481’s criminal penalties directly threaten them with injury sufficient

to confer standing. Id.; see also City of Akron v. Akron Ctr. for Reprod. Health,

Inc., 462 U.S. 416, 440 n.30 (1983), overruled on other grounds by Casey, 505

U.S. 833 (1992); Doe v. Bolton, 410 U.S. 179, 188 (1973) (“The physician is the

one against whom these criminal statutes directly operate in the event he

procures an abortion that does not meet the statutory exceptions and conditions.

The physicians-appellants, therefore, assert a sufficiently direct threat of

personal detriment.”).

      As to third-party standing, Plaintiff Providers state that “decades of

precedent recognize abortion providers’ ability to raise claims to protect their

patients’ fundamental right to access abortion.” Doc. No. [127], p. 3; see, e.g.,

Singleton v. Wulff, 428 U.S. 106, 118 (1976) (plurality opinion) (“[I]t generally

is appropriate to allow a physician to assert the rights of women patients as

against governmental interference with the abortion decision.”); Williamson,

900 F.3d at 1325 n.13 (noting that “all the landmark cases since [Roe] have been

brought by physicians or clinics.”). In acknowledging this third-party standing

in abortion cases, the Supreme Court has recognized that abortion providers
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are “uniquely qualified to litigate the constitutionality of the State’s

interference with, or discrimination against” a woman’s decision to have an

abortion. Singleton, 428 U.S. at 117.

      Moreover, the Supreme Court recently reaffirmed this type of third-

party standing in abortion cases in June Medical Services, L.L.C. v. Russo, ---

U.S. ----, No. 18-1323, 2020 WL 3492640 (U.S. June 29, 2020). In Russo, the

Supreme Court considered a challenge, brought by abortion providers, to a

state law which required them to hold active admitting privileges at hospital

within 30 miles of the place where they perform abortions. Id. at *4. The state

defendants argued, inter alia, that the abortion providers lacked standing and

that the proper plaintiffs were the patients themselves. Id. at *8. In finding that

the state defendants had waived such an argument by failing to raise it earlier,

the Supreme Court went on to state that it has “long permitted abortion

providers to invoke the rights of their actual or potential patients in challenges

to abortion-related regulations.” Id. at *9. The Court further noted that it has

“generally permitted plaintiffs to assert third-party rights in cases where the

‘enforcement of the challenged restriction against the litigant would result

indirectly in the violation of third parties’ rights.’” Id. (citing Kowalski v.

Tesmer, 543 U.S. 125, 130 (2004) (emphasis in original)). Thus, because the
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abortion providers were challenging a law that regulated their own conduct,

the Court found that they were “far better positioned than their patients to

address the burdens of compliance”—or, in other words, “the least awkward”

and most “obvious” claimants. Id. at *10 (citing Craig v. Boren, 429 U.S. 190,

197) (1976)).

      Similarly, here, Plaintiff Providers seek to invoke their own rights as well

as the rights of their non-party patients in challenging the constitutionality of

H.B. 481. Plaintiff Providers further state that they have “unique physician-

patient relationships with their patients, which are close, intimate, and special,

and create ethical and medical duties.” PAF, ¶ 1. The State Defendants maintain

that this single sentence is “insufficient” to confer third-party standing. In light

of binding Supreme Court precedent, however, the Court must disagree.

Accordingly, the Court finds that Plaintiff Providers have sufficiently

established standing—both on their own behalf and on behalf of their patients.

                    ii.   Count II: Due Process/Vagueness

      Because the Court has addressed the parties’ vagueness arguments, it

need not reiterate them here. See supra Section II.B.2.ii (holding that application

of Section 3’s Personhood Definition makes it impossible for Plaintiffs to do

their work with fair notice of conduct that is forbidden or required, in violation
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of their procedural due process rights). Because Plaintiffs are entitled to

summary judgment on their procedural due process claim, the State

Defendants are not entitled to summary judgment on Count II of the Complaint.

                   iii.   Severability

      In their summary judgment motion and briefing, Plaintiffs argue that

this Court should permanently enjoin H.B. 481 in its entirety. Doc. No. [124-1],

p. 1. By contrast, the State Defendants argue that they are entitled to partial

summary judgment on the issue of severability on the ground that all

provisions of H.B. 481 that are not specifically found unconstitutional are

severable and should be allowed to take effect as the law of Georgia. Doc. No.

[125-1], p. 28. More specifically, the State Defendants argue that H.B. 481

contains separate abortion-related and non-abortion-related provisions

(concerning findings, informed consent, information, reporting, child support,

tax benefits, tort damages, and other matters) that are capable of standing on

their own and operating independently, even if Sections 3 and 4 of H.B. 481 are

invalidated and enjoined. Doc. No. [137], p. 16.

      The premise of the State Defendants’ argument is that Plaintiffs’

summary judgment briefing shows that they are only challenging Section 3(b)

of H.B. 481 (providing a definition of “natural person”) and Section 4 of H.B.
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481 (relating to restrictions on the performance of abortions). The State

Defendants maintain that Plaintiffs are not challenging the remainder of

Section 3 of H.B. 481 that contains definitions of the terms “detectable human

heartbeat” and “unborn child” in subsection (e), which are mentioned

repeatedly in H.B. 481. Doc. No. [129], p. 3.

      In opposition, Plaintiffs indicate that the State Defendants’ premise is

faulty, as their challenge is to Section 3’s redefinition of the term “person”

throughout the Georgia Code, which encompasses subsections 3(b) and 3(e) of

H.B. 481. Doc. No. [135], p. 9, n.11.

      To determine the scope of Plaintiffs’ challenge to H.B. 481, the Court

reviews Plaintiffs’ Complaint, not the summary judgment briefing, as “a

plaintiff cannot amend [the] complaint through argument made in [a] brief in

opposition to the defendant’s motion for summary judgment.” Monaghan v.

Worldpay US, Inc., 955 F.3d 855, 859 (11th Cir. 2020) (citations omitted). A

review of Plaintiffs’ Complaint shows that Plaintiffs discuss Section 3 of H.B.

481 as a whole and Plaintiffs do not specifically parse out subsections of Section

3 as being subject to their challenge. See Doc. No. [1], ¶¶ 37, 38, 68, 76, 77, 78,

and 79. In paragraphs 38 and 68, Plaintiffs specifically focus on Section 3’s new

definition of “natural person,” but in other paragraphs of the Complaint (e.g.
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¶¶ 76–77), Plaintiffs reference the “new definitions in Section 3 of H.B. 481.” Id.

¶¶ 38, 68, 76, 77 (emphasis added). From the Court’s review of the Complaint,

it is reasonable to conclude that Plaintiffs’ challenge encompasses the entirety

of Section 3 of H.B. 481.

        Having determined the scope of Plaintiffs’ challenge to H.B. 481, the

Court now considers the substantive law regarding severability. The Court

applies “Georgia law to determine what portion of a Georgia statute, if any,

survives due to a severability clause, when a portion of that statute is judicially

invalidated.” Artistic Entm’t, Inc. v. City of Warner Robins, 331 F.3d 1196, 1204

(11th Cir. 2003); see also Leavitt v. Jane L., 518 U.S. 137, 139 (1996) (“Severability

is . . . a matter of state law.”). In Georgia, “in order to hold one part of a statute

unconstitutional and uphold another part as separable, they must not be

mutually dependent upon each other.” City Council of Augusta v. Mangelly,

243 Ga. 358, 363, 254 S.E.2d 315, 320 (1979) (citations and quotations omitted).

It is also generally held that a saving or severability clause such as the one in

H.B. 48121 “is only an aid to construction, and is not an absolute command. It



21The severability clause in H.B. 481 states in relevant part, “All provisions of this Act
shall be severable in accordance with Code Section 1-1-3.” O.C.G.A. § 1-1-3 pertains
to invalid or unconstitutional code provisions and states in relevant part:

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merely creates a presumption in favor of separability, and does not authorize

the court to give to the statute an effect altogether different from that sought by

it when considered as a whole.” Mangelly, 243 Ga. at 363, 254 S.E.2d at 320

(citations omitted). This presumption is also “overcome where the stricken and

upheld portions of the statute depend on one another.” The Lamar Co. v. City

of Marietta, 538 F. Supp. 2d 1366, 1375 (N.D. Ga. 2008) (citations omitted).




             Except as otherwise specifically provided in this Code or
             in an Act or resolution of the General Assembly, in the
             event any title, chapter, article, part, subpart, Code section,
             subsection, paragraph, subparagraph, item, sentence,
             clause, phrase, or word of this Code or of any Act or
             resolution of the General Assembly is declared or
             adjudged to be invalid or unconstitutional, such
             declaration or adjudication shall not affect the remaining
             portions of this Code or of such Act or resolution, which
             shall remain of full force and effect as if such portion so
             declared or adjudged invalid or unconstitutional were not
             originally a part of this Code or of such Act or resolution.
             The General Assembly declares that it would have enacted
             the remaining parts of this Code if it had known that such
             portion hereof would be declared or adjudged invalid or
             unconstitutional. The General Assembly further declares
             that it would have enacted the remaining parts of any
             other Act or resolution if it had known that such portion
             thereof would be declared or adjudged invalid or
             unconstitutional unless such Act or resolution contains an
             express provision to the contrary.

      O.C.G.A. § 1-1-3.

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        In addition to Georgia law, this Court considers the preferred approach

to severance and remedies, as stated by the United States Supreme Court in its

abortion jurisprudence:

              Generally     speaking,     when      confronting      a
              constitutional flaw in a statute, we try to limit the
              solution to the problem. We prefer, for example, to
              enjoin only the unconstitutional applications of a
              statute while leaving other applications in force, or to
              sever its problematic portions while leaving the
              remainder intact.

Ayotte v. Planned Parenthood of N. New England, 546 U.S. 320, 328–29 (2006)

(citations omitted).22

        The Supreme Court in Ayotte set forth three principles that informed

their approach: (1) “try not to nullify more of a legislature’s work than is

necessary”; (2) “restrain . . . from ‘rewrit[ing] state law to conform it to

constitutional requirements’ even as [the Court] strive[s] to salvage it”; and (3)



22 In their briefing, the State Defendants refer the Court to non-binding opinions
issued by other out-of-state district courts that appear to provide analysis/application
of Ayotte and other Supreme Court authority. Doc. No. [125-1], p. 31. As the opinions
are non-binding and not the law of Georgia or from the United States Supreme Court,
the Court declines to consider the opinions. See McGinley v. Houston, 361 F.3d 1328,
1331 (11th Cir. 2004) (“The general rule is that a district judge’s decision neither binds
another district judge nor binds him . . . . A circuit court’s decision binds the district
courts sitting within its jurisdiction while a decision by the Supreme Court binds all
circuit and district courts.”) (citations omitted).

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“the touchstone for any decision about remedy is legislative intent, for a court

cannot ‘use its remedial powers to circumvent the intent of the legislature.’” Id.

at 330. (citations omitted).23

        The Court must now consider Georgia law and the United States

Supreme Court’s approach/principles to determine if any portion of H.B. 481

is severable, following the Court’s above-stated invalidation of Sections 3 and

4 of the Act on the grounds of violation of the right to privacy and vagueness.

        Under Georgia law, the Court must determine whether the invalid

provisions of H.B. 481 are mutually dependent upon any other portions of the

Act. A review of the remaining operative sections of H.B. 481, i.e., Section 5

(relating to child support), Section 6 (relating to tort recovery), Section 7

(concerning informed consent), Section 10 (concerning physician’s obligations

in performance of an abortion), Section 11 (concerning reporting requirements),

and Section 12 (relating to tax exemptions) shows that they each contain

language that references one or more of the definitions in O.C.G.A. §1-2-1,




23In a notice of supplemental authority (Doc. No. [146]), the State Defendants refer
the Court to a recent Supreme Court opinion, which reiterates these principles in a
non-abortion context/review of an act of Congress. See Seila Law LLC v. Consumer
Fin. Prot. Bureau, ---U.S. ----, No. 19-7, 2020 WL 3492641 (U.S. June 29, 2020).

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which Section 3 of H.B. 481 amends. Doc. No. [1], pp. 44, 47.24 In other words,

Sections 5, 6, 7, 10, 11, and 12 are mutually dependent on Section 3 of H.B. 481.

If Section 3 is subject to the injunction, Sections 5, 6, 7, 10, 11, and 12 are not

complete code sections without the operative definitional language of

Section 3/Code Section 1-2-1. In essence, the “balance of the legislation is

incapable of functioning independently.”                25   United States v. Romero-

Fernandez, 983 F.2d 195, 196 (11th Cir. 1993) (“In determining whether to sever

a constitutionally flawed provision, courts should consider whether the

balance of the legislation is incapable of functioning independently.”).

        As this mutual dependency ruling is determinative, it is not necessary to

consider the remainder of the severability rules and arguments concerning the




24While there are three sections of H.B. 481 that do not incorporate the definitional
language of Section 3, i.e., Section 1 (providing for a title of H.B. 481), Section 2
(providing for legislative findings), Section 9 (repealing penalties section for failure to
comply with Title 31 of the Official Code of Georgia), such does not alter the Court’s
ruling, as the balance of the legislation (i.e., Sections 5, 6, 7, 10, 11, and 12) are incapable
of functioning independently.
25Were the Court to hold otherwise, it would be contradicting itself. As discussed
supra, Section 3’s Personhood Definition violates substantive due process. An embryo
or fetus cannot be a “person,” as that designation would effectively ban all abortions,
even pre-viability. See also Roe, 410 U.S. at 157. For the same reason, an embryo or
fetus cannot be a child entitled to tax deductions or child support payments. Had the
legislature conferred these benefits on expectant parents without tying them to a new
definition of personhood, the Court’s analysis would be different.
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Georgia General Assembly’s purpose and intent in enacting H.B. 481. See

Daimler Chrysler Corp. v. Ferrante, 281 Ga. 273, 274–75, 637 S.E.2d 659, 661–62

(2006) (indicating that severance is also proper if “the remaining portion of the

Act accomplishes the purpose the legislature intended.’ If, however, ‘the

objectionable part is so connected with the general scope of the statute that,

should it be stricken out, effect cannot be given to the legislative intent, the rest

of the statute must fall with it.’”); see also Union City Bd. of Zoning Appeals v.

Justice Outdoor Displays, Inc., 266 Ga. 393, 404, 467 S.E.2d 875, 884 (1996)

(“When a statute cannot be sustained as a whole, the courts will uphold it in

part when it is reasonably certain that to do so will correspond with the main

purpose which the legislature sought to accomplish by its enactment, if, after

the objectionable part is stricken, enough remains to accomplish that

purpose.”).

      In the alternative, to the extent that it is proper to consider legislative

purpose and intent, the Court notes that the United States Supreme Court has

held that “[i]n ascertaining [legislative] purpose, [the court] may examine the

title of the act, the source in previous legislation of the particular provision in

question, and the legislative scheme or plan by which the general purpose of



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the act is to be carried out.” United States v. Katz, 271 U.S. 354, 357 (1926).26 In

terms of ascertaining intent, the Georgia Code states that “[i]n all

interpretations of statutes, the courts shall look diligently for the intention of

the General Assembly, keeping in view at all times the old law, the evil, and

the remedy.” O.C.G.A. § 1-3-1(a). The Georgia courts appear to be in conflict as

to how to determine legislative intent, as there is authority that indicates that

legislative intent is determined by reviewing the caption of the statute and the

statute as a whole. 27 See e.g., Sikes v. State, 268 Ga. 19, 21, 485 S.E.2d 206, 209

(1997) (“in attempting to ascertain legislative intent of a doubtful statute, a

court may look to the caption of the act and its legislative history.”); West v.




26 Georgia law seems to indicate that the purpose of the law is found in the preamble.
See e.g., City of Marietta v. Summerour, 302 Ga. 645, 652, 807 S.E.2d 324, 330 n.2 (2017)
(finding the statement of legislative purpose in the codified preamble of the statute)
and Sawnee Elec. Membership Corp. v. Georgia Pub. Serv. Comm’n, 273 Ga. 702, 704,
544 S.E.2d 158, 160 (2001) (same). There are other Georgia cases that have derived the
purpose of the statute from the face of the act. See e.g., Greer v. State, 233 Ga. 667, 670,
212 S.E.2d 836, 839 (1975); cf. Kennedy v. Carlton, 294 Ga. 576, 578, 757 S.E.2d 46, 48
(2014) (indicating that the “intent and purpose of the General Assembly in enacting
the statute” was “obvious” and appearing to derive this information from the face of
the statute).
27“The caption of an act of the legislature is properly an index to the contents of the
statute as construed by the legislature itself,—a summarizing of the act, made right at
the time when the discussion of every phase of the question is fresh in the legislative
mind.” Copher v. Mackey, 220 Ga. App. 43, 45, 467 S.E.2d 362, 364 (1996) (internal
quotations and citations omitted).
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City of Albany, 300 Ga. 743, 745, 797 S.E.2d 809, 811 (2017) (“in construing

language in any one part of a statute, a court should consider the entire scheme

of the statute and attempt to gather the legislative intent from the statute as a

whole”); Bennett v. State, 252 Ga. App. 451, 453, 557 S.E.2d 29, 32 (2001) (“In

construing legislation, nothing is more pertinent, towards ascertaining the true

intention of the legislative mind in the passage of the enactment, than the

legislature’s own interpretation of the scope and purpose of the act, as

contained in the caption.”) (internal quotations and citations omitted).

However, there is more recent authority which states that the Georgia General

Assembly “does not enact a general intention” and the concept of discerning

the collective intent of the legislators is “pure fiction.” In re Whittle, 339 Ga.

App. 83, 85–86, 793 S.E.2d 123, 126 (2016).

        For purposes of this Order, the Court will consider the statute and the

older authority. Sharpe v. Seaboard Coast Line R. Co., 528 F.2d 546, 548 (5th

Cir. 1976) (“Under Georgia law, the rule of stare decisis applies, which means

that the older case law must control.”).28



28In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc), the
Eleventh Circuit adopted as binding precedent all decisions rendered prior to the
close of business on September 30, 1981 by the United States Court of Appeals for the

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         To this regard, after considering H.B. 481 as a whole, the title, the caption,

the prior legislation, the legislative scheme, the old law, the evil, and the

remedy, the Court rejects the State Defendants’ argument that the statutory

purpose solely concerns “promoting fetal well-being.” Hearing Transcript,

Tr. 46:13–25. Instead, H.B. 481’s specific references to Roe v. Wade 29 and

“established abortion related precedents” as well as consideration of the old

law (specifically the prior versions of the Georgia statute which tracked the

language of the United States Supreme Court’s Roe v. Wade abortion

jurisprudence and the Roe Court’s conclusion that the word “person” does not

include the unborn),30 the evil, and the remedy (the final version of H.B. 481,



Fifth Circuit.
29   See Doc. No. [1], ¶ 3.
30   As stated in the Court’s prior Preliminary Injunction Order,
                 Section 3 amends O.C.G.A. § 1-2-1 by redefining “natural
                 person” to include “any human being including an
                 unborn child” and by defining “unborn child” as an
                 embryo/fetus “at any stage of development who is carried
                 in the womb.” H.B. 481 § 3. This precise definition,
                 however, was considered and rejected by the Supreme
                 Court in Roe. Specifically, in Roe, the Supreme Court
                 considered whether a “person,” as used in the Fourteenth
                 Amendment, includes an unborn child. 410 U.S. at 157.
                 The Court noted that the Fourteenth Amendment speaks
                 only of persons “born or naturalized in the United States,”
                 and that the use of the word has application only

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which changes the old law to give personhood to the unborn) lends support to

Plaintiffs’ argument that the purpose of H.B. 481 was to ban or de facto ban

abortion. Hearing Transcript, Tr. 79:7–9. To this regard, severance is not proper

as the objectional parts of H.B. 481, i.e., Sections 3 and 4, are so connected with

the general scope of the statute that now that they have been invalidated, effect

cannot be given to the legislative intent. See Daimler Chrysler Corp., 281 Ga. at

274–75, 637 S.E.2d at 661–62 (“If, however, ‘the objectionable part is so

connected with the general scope of the statute that, should it be stricken out,

effect cannot be given to the legislative intent, the rest of the statute must fall

with it.’”). Accordingly, the remainder of H.B. 481 falls.

      In sum, the State Defendants have not met either of their summary

judgment burdens (i.e., as movant or non-movant) and their request for partial

summary judgment in their favor on the issue of severability is denied. Cf.

Celotex Corp., 477 U.S. at 325 (indicating that the moving party’s burden at



             postnatally. Id. Therefore, the Court in Roe ultimately
             concluded that the word “person” does not include the
             unborn and, thus, rejected the notion that an
             embryo/fetus is entitled to Fourteenth Amendment
             protection. Id. at 158.

      Doc. No. [97], p. 35.


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summary judgment is to establish that there is an absence of evidence to

support [an essential element of] the nonmoving party’s case” and the non-

movant’s burden is to show that summary judgment is improper). Plaintiffs are

entitled to summary judgment on the issue of severability. Accordingly, the

Court declines to sever any portions of H.B. 481. The entire bill is subject to the

permanent injunction.

      C.     Permanent Injunction

      As noted above, Plaintiffs also move this Court to permanently enjoin

the enforcement of H.B. 481 by all Defendants and their successors in office.

Doc. No. [124], p. 2. To obtain a permanent injunction, a plaintiff must show

“(1) that he has suffered an irreparable injury; (2) that his remedies at law are

inadequate; (3) that the balance of hardships weighs in his favor; and (4) that a

permanent injunction would not disserve the public interest.” Barrett v. Walker

Cty. Sch. Dist., 872 F.3d 1209, 1229 (11th Cir. 2017) (citing eBay Inc. v.

MercExchange, L.L.C., 547 U.S. 388, 391 (2006)). The Court addresses each of

these factors in turn.

             1      Irreparable Injury

      “Irreparable harm is the equitable cornerstone of an injunction.” Sturgis

Motorcycle Rally, Inc. v. Mortimer, 2:14-cv-00175-wco, 2014 WL 12479644, at *4
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(N.D. Ga. Dec. 23, 2014) (citing Beason Theatres, Inc. v. Westover, 359 U.S. 500,

506–07 (1959) (“The basis of injunctive relief in the federal courts has always

been irreparable harm and inadequacy of legal remedies.”)).

      As discussed supra, Plaintiffs have established that H.B. 481 is

unconstitutional under the Due Process Clause of the Fourteenth Amendment

because it prohibits abortions at a pre-viability point in pregnancy and is

unconstitutionally vague. Consequently, H.B. 481 violates the constitutional

right to privacy which, in turn, inflicts per se irreparable harm on Plaintiffs.

See Ne. Fla. Chapter of Ass’n of Gen. Contractors of Am. v. City of Jacksonville,

896 F.2d 1283, 1285 (11th Cir. 1990) (“The only area of constitutional

jurisprudence where we have said that an on-going violation constitutes

irreparable injury is the area of first amendment and right of privacy

jurisprudence.”); Planned Parenthood, Se., Inc. v. Bentley, 951 F. Supp. 2d 1280,

1289 (M.D. Ala. 2013) (“Accordingly, courts presume that violations to the

fundamental right to privacy are irreparable.”). Additionally, being subject to

unconstitutionally vague laws also imposes irreparable harm on Plaintiffs. Cf.

Am. Civil Liberties Union of Ga. v. Miller, 977 F. Supp. 1228, 1235 (N.D. Ga.

1997) (finding a substantial threat of irreparable injury where the continued

enforcement of a vague statute would “force plaintiffs either to continue self-
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censorship or to risk prosecution”). The Court therefore finds that Plaintiffs

have suffered an irreparable injury as a result of H.B. 481. and will continue to

suffer irreparable harm absent an injunction. Accordingly, this factor is

satisfied.

             2.    Inadequate Remedy at Law

       The Court also finds that there is no adequate remedy at law for the

constitutional violations imposed by H.B. 481. “[T]he right of privacy must be

carefully guarded for once an infringement has occurred it cannot be undone

by monetary relief.” Deerfield Med. Ctr. v. City of Deerfield Beach, 661 F.2d

328, 338 (5th Cir. Unit B. 1981); see also Ne. Fla. Chapter of Ass’n of Gen.

Contractors, 896 F.2d at 1285 (“Invasions of privacy, because of their intangible

nature, could not be compensated for by monetary damages; in other words,

plaintiffs could not be made whole.”). Similarly, the chilling effects of an

unconstitutionally vague law cannot be compensated for by monetary

damages. Cf. Miller, 977 F. Supp. at 1235. Accordingly, this factor is satisfied.

             3.    Balance of Hardships

       As for weighing the balance of hardships, Plaintiffs will suffer numerous

irreparable harms absent an injunction of the enforcement of H.B. 481, as

discussed supra. These harms most certainly outweigh any injury Defendants
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may suffer from the imposition of an injunction. See Causeway Med. Suite v.

Foster, 43 F. Supp. 2d 604, 619 (E.D. La. 1999) (“[T]he threatened injury of

unduly burdening a woman in her decision to terminate her pregnancy by

criminalizing a procedure in such a way as to chill abortion providers from

practicing their profession greatly outweighs any damage the injunction may

cause the state.”). To be clear, the Supreme Court has recognized that a state

has an “important and legitimate interest in preserving and protecting the

health of the pregnant woman [and] in protecting the potentiality of human

life.” Casey, 505 U.S. at 875–76 (quoting Roe, 410 U.S. at 162). Yet the Court has

also made clear that the “weight [of the state’s interest] is insufficient to justify

a ban on abortions prior to viability even when it is subject to certain

exceptions.” Id. (emphasis added). Accordingly, this factor is satisfied.

             4.     Public Interest

      Finally, the Court finds that a permanent injunction would not disserve

the public interest. Rather, an injunction here would protect the public interest

“by protecting those rights to which it too is entitled.” Nat’l Abortion Fed’n v.

Metro. Atlanta Rapid Transit Auth., 112 F. Supp. 2d 1320, 1328 (N.D. Ga. 2000);

see also Am. Freedom Def. Initiative v. Suburban Mobility Auth. For Reg’l

Transp., 698 F.3d 885, 896 (6th Cir. 2012) (“The public interest is promoted by
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the robust enforcement of constitutional rights.”). It is in the public interest, and

is this Court’s duty, to ensure constitutional rights are protected. Because “the

constitutional liberty of the woman to have some freedom to terminate her

pregnancy” is implicated here, the Court finds that a permanent injunction of

H.B. 481 would not disserve the public interest. Accordingly, this factor is

satisfied. Casey, 505 U.S. at 869.

       As they have satisfied all four factors, Plaintiffs are therefore entitled to

a permanent injunction of the enforcement of H.B. 481 by Defendants and their

successors in office.

III.   CONCLUSION

       For the reasons discussed above, the Court finds that Plaintiffs are

entitled to judgment as a matter of law on Counts I and II of their Verified

Complaint for Declaratory and Injunctive Relief. Doc. No. [1]. Plaintiffs’ Motion

for Summary Judgment is GRANTED. Doc. No. [124]. The State Defendants’

Motion for Summary Judgment and/or Partial Summary Judgment is DENIED.

Doc. No. [125].

       The Court thus declares the rights of the parties as follows: Sections 3

and 4 of H.B. 481 violate the Fourteenth Amendment of the United States

Constitution.
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      The Court hereby ORDERS that all Defendants, and all their respective

officers, successors in office, agents, servants, employees, attorneys, and

persons acting in concert or participation with them, are PERMANENTLY

ENJOINED from enforcing H.B. 481 (Georgia General Assembly 2019–20

Legislative Session) in its entirety. As a result, the State of Georgia’s abortion

laws that were in effect prior to the passage of H.B. 481 remain in effect.

      As there are no further issues outstanding, the Clerk is DIRECTED to

enter judgment in favor of Plaintiffs and CLOSE THIS CASE.

      IT IS SO ORDERED this 13th day of July, 2020.




                                       ___________________________________
                                       HONORABLE STEVE C. JONES
                                       UNITED STATES DISTRICT JUDGE




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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 SISTERSONG WOMEN OF COLOR
 REPRODUCTIVE JUSTICE
 COLLECTIVE, on behalf of itself and its
 members, et al.,
       Plaintiffs,                                   CIVIL ACTION FILE
 v.                                                  NO. 1:19-CV-2973-SCJ
 BRIAN KEMP, Governor of the State
 of Georgia, in his official capacity,
 et al.,
       Defendants.

                                    JUDGMENT

       This action having come before the Court, Honorable Steve C. Jones, United States

District Judge, on Plaintiffs' Motion for Summary Judgment, and the Court having granted

said Motion, it is

       Ordered and Adjudged that Sections 3 and 4 of H.B. 481 violate the Fourteenth

Amendment of the United States Constitution and that all Defendants, and all their

respective officers, successors in office, agents, servants, employees, attorneys, and

persons acting in concert or participation with them, are PERMANENTLY ENJOINED from

enforcing H.B. 481 (Georgia General Assembly 2019–20 Legislative Session) in its entirety.

The State of Georgia’s abortion laws that were in effect prior to the passage of H.B. 481

remain in effect. Plaintiffs are allowed costs pursuant to Federal Rule of Civil Procedure

54.

       Dated at Atlanta, Georgia this 13th day of July, 2020.


                                                JAMES N. HATTEN
                                                CLERK OF COURT


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                                       By: s/R. Spratt
                                              Deputy Clerk

Prepared, Filed and Entered
In the Clerk's Office
    July 13, 2020
James N. Hatten
Clerk of Court

By: s/R. Spratt
       Deputy Clerk




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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA


SISTERSONG WOMEN OF COLOR
REPRODUCTIVE JUSTICE
COLLECTIVE, on behalf of itself and
its members, et al.,
                                            No. 1:19-cv-02973-SCJ
                   Plaintiffs,

       v.

BRIAN KEMP, Governor of the State
of Georgia, in his official capacity, et
al.,

                   Defendants.



                            NOTICE OF APPEAL
      Notice is hereby given that Defendants Brian Kemp, Christopher M.

Carr, Kathleen Toomey, John S. Antalis, Gretchen Collins, Debi Dalton, E.

Daniel Deloach, Charmaine Faucher, Michael Fowler, Sr., Alexander S.

Gross, Thomas Hardin, Jr., Rob Law, Matthew W. Norman, David W.
Retterbush, Andrew Reisman, Joe Sam Robinson, Barby J. Simmons,

Richard L. Weil, LaSharn Hughes, Julia Slater, Joyette M. Holmes, Danny

Porter, and Meg Heap (all sued in their official capacities) (“the State
Defendants”) appeal to the United States Court of Appeals for the Eleventh

Circuit from the final judgment and order issued on July 13, 2020, granting




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plaintiffs’ motion for summary judgment and entering a permanent

injunction.
                                            Respectfully submitted,

Dated:        August 11, 2020              /s/ Andrew A. Pinson

Jeffrey M. Harris (pro hac vice)           Christopher M. Carr
Steven C. Begakis (pro hac vice)             Attorney General of Georgia
CONSOVOY MCCARTHY PLLC                     Andrew A. Pinson (Bar #584719)
1600 Wilson Boulevard, Suite 700             Solicitor General
Arlington, VA 22209                        Georgia Department of Law
(703) 243-9423                             40 Capitol Square SW
                                           Atlanta, GA 30334
Patrick Strawbridge (pro hac vice)         (404) 651-9453
CONSOVOY MCCARTHY PLLC
Ten Post Office Square
8th Floor South, PMB #706
Boston, MA 02109
(617) 227-0548


                            Counsel for Defendants




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                    CERTIFICATE OF COMPLIANCE
     I certify that this document uses 13-point Century Schoolbook in

compliance with Local Rule 5.1(B).

                                        /s/ Andrew A. Pinson
                                        Andrew A. Pinson




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                       CERTIFICATE OF SERVICE
      I hereby certify that the foregoing document was electronically filed

with the Clerk of Court using the CM/ECF system on August 11, 2020,

thereby serving all counsel of record.
                                         /s/ Andrew A. Pinson
                                         Andrew A. Pinson




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                           UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF GEORGIA
                                     2211 UNITED STATES COURTHOUSE
                                        75 TED TURNER DRIVE, SW
                                      ATLANTA, GEORGIA 30303-3361
JAMES N. HATTEN                                                                     DOCKETING SECTION
DISTRICT COURT EXECUTIVE                                                             404-215-1655
 AND CLERK OF COURT
                                          August 11, 2020

Clerk of Court
U.S. Court of Appeals, Eleventh Circuit
56 Forsyth Street, N.W.
Atlanta, Georgia 30303

       U.S.D.C. No.: 1:19-cv-2973-SCJ
       U.S.C.A. No.: 00-00000-00
       In re:        SisterSong Women of Color Reproductive Justice Collective, et al. v.
                     Brian Kemp, et al.

        Enclosed are documents regarding an appeal in this matter. Please acknowledge
receipt on the enclosed copy of this letter.

   X     Certified copies of the Notice of Appeal, Clerk’s Judgment, Order and Docket
         Sheet appealed enclosed.

   X     This is not the first notice of appeal. Other notices were filed on: 11/22/2019
         (USCA 19-14726-DD).

         There is no transcript.

   X     The court reporters are David Ritchie and Andy Ashley.

         There is sealed material.

         Other: .

   X     Fee paid electronically on 8/11/2020; Receipt Number AGANDC-10016222.

         Appellant has been leave to file in forma pauperis.

         This is a bankruptcy appeal. The Bankruptcy Judge is .

         The Magistrate Judge is .

   X     The District Judge is Steve C. Jones.

         This is a DEATH PENALTY appeal.

                                                               Sincerely,

                                                               James N. Hatten
                                                               District Court Executive
                                                               and Clerk of Court

                                                         By: /s/ K. Carter
                                                             Deputy Clerk


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